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   1    approved that person coming in.    I never met that

   2    person.   I don't know who that person is.    So, I don't

   3    really have the contacts.    I never spoke to Rishi about

   4    it because we're not on speaking terms, at the moment.

   5    I haven't spoken to him about it.    I don't know what

   6    that story is, with the 50,000.    So, it's possible that

   7    this project has a $50,000 LP, but I have no idea if

   8    it's an LP, if it's a debt.    I have no idea.   But from

   9    the kind of multi-million dollar investment, it's only

  10    us and        as far as I know.

  11          Q    And if there were -- excuse me.    If a new

  12    prospective LP were to come in, is it your

  13    understanding that you -- or that you created, an LP

  14    and       would have to vote, as to whether a new LP

  15    could come in?

  16          A    Yes.

  17          Q    Okay.   And that took place with this --

  18          A    Assuming this 50,000 person is a real LP,

  19    because I don't know -- again, I don't know if it's

  20    50,000 of debt, or what the story is, because we never

  21    updated any operating agreements.    So, I don't know

  22    what the story is, with this person. But, yes, our

  23    understanding is if there's any change in LP, then that

  24    would need to be voted on.

  25          Q    You mentioned that the budget has increased



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   1    by $40 million.   When did you find that out?

   2         A     So, we found that out probably last year,

   3    2022. Apparently,         when they invested, they

   4    invested under the new budget.    So, they already --

   5    like when they made a decision to invest, they invested

   6    under the -- that 40 million more budget.     We invested

   7    under the, kind of the previous budget.     Rishi claims

   8    that this was shared with our team, the updated budget.

   9    And it's very possible that it has been, but it was

  10    never highlighted. It might have been shared in, you

  11    know, just amongst multiple other interactions, or

  12    e-mail exchanges we had, but we never had a sit-down,

  13    where he's like hey, guys, this happened, and now it's

  14    $40 million more.   That never happened.

  15         Q     Did Rishi or anyone else from Location

  16    Ventures provide information as to why the budget did,

  17    in fact, increase by $40 million?

  18         A     The story was that they found additional

  19    square footage that they can develop.     So, that

  20    additional square footage would cost -- some of that 40

  21    million came from that additional square footage that

  22    they were able to find.    Some came from, you know, the

  23    market moved, the cost moved up, and so on.     But,

  24    again, don't worry, guys, we're now going to sell for

  25    1,500 a foot, so it doesn't matter because we're going



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   1    to, you know, more than make up for it, on the way out.

   2         Q      Did Rishi or anyone from Location Ventures

   3    provide you with any document, updated budget, or

   4    updated sort of verifications, for the $40 million

   5    increase?

   6         A      Yes, that's, I think, how we found out

   7    that -- we looked at one of the latest -- because the

   8    models constantly changed, which, to some extent,

   9    happens, but they seemed to be changing a lot, in this

  10    particular situation.    And, then, when we looked and

  11    actually compared what we invested into versus one of

  12    the latest models we saw, that's when we noticed that

  13    there's a massive discrepancy.

  14         Q      And, generally, or approximately, I should

  15    say, that $40 million increase, in the budget, what's

  16    the percentage?

  17         A      Like I think the budget was maybe 100 -- mid

  18    hundreds.   So, 40 million was a pretty meaningful

  19    increase.   It wasn't a rounding error.

  20         Q      And an increase, in terms of that percentage

  21    level, you said mid one hundreds, now 40 million on top

  22    of that, if the budget was supposed to increase, by

  23    that much, was that something that was required to be

  24    approved by you?

  25         A      A hundred percent.



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   1         Q      Okay.    You and

   2         A      Yes.

   3         Q      Okay.    And there was never any approval made

   4    by you or           to increase the budget, by 40 million?

   5         A      So, again, when        invested, I believe -- I

   6    don't want to speak for them, but I believe they

   7    invested under the new budget because they came in way

   8    later than we did.      So, arguably, they don't need to

   9    vote because that's what they invested under, or some

  10    kind of version of that budget.      I -- or our side never

  11    voted for the $40 million increase.

  12         Q      And presuming -- in the operating agreement,

  13    do you a recall if there was an allowable sort of

  14    deviation of the budget that didn't require LP

  15    approval?

  16         A      Yes, but this was -- I don't remember exactly

  17    what it is, but this would definitely not be inside of

  18    that deviation.

  19         Q      Okay.    Let me just take a step back.   You

  20    mentioned that you decided, initially, to commit 18

  21    million and there were various capital calls, and that

  22    you've committed -- or you deployed 5.1 million.       From

  23    the time you committed 18 million, until you found out

  24    the budget was $40 million more than what was initially

  25    presented to you, was there periodic information that



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   1    Rishi, or anyone from Location Ventures, provided to

   2    you about the status of the project, the budget, you

   3    know, where things were heading, with 551 Bayshore?

   4         A     Yes.

   5         Q     Can you describe what -- that either the

   6    information, documents, what have you, were?

   7         A     I mean, he would provide updates on

   8    approvals. He would provide updates on the designs.      He

   9    provided us with an update that addition Marriott

  10    agreed that this project will be branded additional

  11    residences.   He provided pre-added model updates --

  12    updated models, I should say.    So, yes, there were

  13    updates.

  14         Q     Okay.

  15               MR. SHOHAT:    Can I ask one clarifying

  16    question, just to keep the record?

  17               When you say models, are you talking about

  18    financial models or unit models?

  19               THE WITNESS:   Financial models, like the

  20    budget, kind of update the budget.

  21               MR. CORTEZ:    Thank you.   I appreciate that.

  22               BY MR. CORTEZ:

  23         Q     Financial models, when you mentioned earlier

  24    you initially got financial projections, and you

  25    mentioned financial models, you mentioned budget.      Is



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   1    that all sort of the same thing, in other words, are

   2    they updated budgets, essentially?

   3         A     Yeah.

   4         Q     Okay.

   5         A     Yes, and then those models, the exit price

   6    kept moving up.    The assumed exit price kept moving up.

   7    And we started getting uncomfortable.

   8         Q     So, the initial model that had the exit

   9    price, and I think we had talked, that your CFO

  10    reviewed it, you looked at it, discounted some of the

  11    numbers, correct?

  12         A     Yes.

  13         Q     And but, generally, you felt that the numbers

  14    were reasonable, based upon comps and other things you

  15    had available, at that time?

  16         A     Yes.

  17         Q     As you received updated models and budgets,

  18    is it your testimony that you became more and more

  19    uncomfortable with the numbers?

  20         A     Yes.

  21         Q     And can you explain why that is or if there's

  22    certain parts of the budget that the numbers made you

  23    feel uncomfortable with?

  24         A     Specific part that made us feel uncomfortable

  25    is what he projected to be the sellable price per



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   1    square foot.   When we invested, I think it was maybe

   2    950 a foot, which we thought was reasonable.     By the

   3    time we said we're not giving you any more money, I

   4    think it was up to maybe 1,500 a foot, average.     So,

   5    that's a pretty significant increase.     It happened kind

   6    of gradual, 950, 1,000, 1,100, 1,200, and then at some

   7    point, just because the expenses are going down,

   8    doesn't automatically mean that exit prices are going

   9    up. Ultimately, comps kind of dictate, and we started

  10    getting uncomfortable that -- yeah, we started getting

  11    uncomfortable that it seemed like whenever the actual

  12    expenses started creeping up, the solution was well,

  13    we'll just model a much higher exit price, sale price.

  14         Q     And what was that -- did anyone, from

  15    Location Ventures, try to explain to you, like how they

  16    verified or justified a higher exit price?

  17         A     I mean, Rishi would try to explain and find

  18    this unit sold for this much, this unit sold so much.

  19    But, again, we did not -- we didn't feel confident that

  20    his projections are, you know, actualized.

  21         Q     So, from 900 per square foot, to now 1,500

  22    per square feet, Rishi tried to provide an explanation

  23    as to the increase for the exit price, but you didn't

  24    feel that his explanation was --

  25         A     Again, look, real estate is a funny thing,



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   1    right? If some prices seem unreasonable, and fast

   2    forward a year, they seem like a steal, right?     So, we

   3    have to rely on his expertise and experience that he's

   4    basing these prices on what he sees in the marketplace.

   5    Right? We're not professionals, so when we would just

   6    look at random comps, we didn't really see enough

   7    inventory to justify this exit price, but there's also,

   8    in that particular area, this was a brand new,

   9    waterfront, addition branded, luxury condos, so it's

  10    possible that these prices are realistic.     Right?   Like

  11    it's not what we initially signed up for, but it

  12    doesn't mean that it's -- so, we were uncomfortable,

  13    but we didn't have a high degree of confidence that

  14    these prices will never, ever be reached, because

  15    there's no real comp, right next to it.     It's not like

  16    a private home, next to another private home.     It's a

  17    brand new, luxury condo, and there's no similar brand

  18    new luxury condo, right next to it, to justify.     So,

  19    some things we trusted -- some things were assumptions,

  20    and some things we were hoping were accurate, but,

  21    again, fundamentally, this is not what we initially

  22    invested in.

  23         Q     You mentioned that also with each updated

  24    model or budget, you mentioned that costs were also

  25    increasing from what was initially presented to you?



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   1         A     Yes.

   2         Q     Why were the costs increasing; what was the

   3    reason provided to you?

   4         A     During Covid, there was so much construction

   5    boom, which is true.    And, then, the cost to execute

   6    projects went up, which, again, we heard from pretty

   7    much everybody, in the industry, that that was

   8    accurate. Now, how much they go up for, again, we're

   9    not experienced enough to say, okay, well, 20 percent

  10    increase is reasonable or not reasonable, but overall,

  11    anecdotally, from everybody we spoke to, they did say

  12    it now costs a lot more to build something, than it

  13    used to, before Covid.

  14         Q     And sort of the more recent models, with the

  15    costs increasing, did that concern you, or was that

  16    something that you had questions about, similar to the

  17    1,500 square foot exit price, that we just talked

  18    about?

  19         A     Yes, our concern was that just because now

  20    your costs went up, you can't just -- because it's

  21    Excel model.   You can plug in any number and, all of a

  22    sudden, the project looks incredible, right?     And if

  23    the costs keep going up, are we going to just model

  24    1,700 a foot? There has to be reality to expenses and

  25    there has to be reality to exit prices. You can't



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 1     miraculously fix your expense side, by miraculously

 2     increasing your exit price, until we sold elevation

 3     from pre-sales and sales, and so on.     So, yeah, we were

 4     definitely concerned.

 5          Q      And you mentioned that it's your

 6     understanding that Rishi was involved, amongst other

 7     people at Location Ventures, in putting together these

 8     models and updating the models, correct?

 9          A      Absolutely.   Very few things happened, at

10     Location Ventures, without Rishi saying -- giving an

11     approval.    Like there's no independent thinkers, in

12     that company.

13          Q      So, do you know who else, other than Rishi,

14     may have, I'll say, assisted or at least worked on

15     these models, in updating the models?

16          A      I think Daniel Mogha, his partner, DJ Mogha.

17     His name is Daniel.    He goes by DJ.   And if I'm not

18     mistaken, George was building models, as well.

19          Q      Okay.   And when you expressed concern, again,

20     about the $40 million increase, in the budget, did you

21     speak with DJ Mogha or George -- are you referring to

22     George Tarinos?

23          A      I believe -- so, I know George Tarinos is

24     kind of like the controller and he sends like the cash

25     reports and stuff.    There's another -- I know Rishi



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 1     before I do George, so I don't know if there's another

 2     George, who does the models, or if this is the same

 3     George.

 4          Q       Okay.   But I know you spoke to Rishi, but did

 5     you speak to DJ Mogha?

 6          A       Not really, no.

 7          Q       So, you communications about the budget and

 8     the increase --

 9          A       Everything goes through Rishi, in that

10     company.

11                  MR. SHOHAT:    Let him finish the question.

12                  THE WITNESS:    I'm sorry.   Sorry about that.

13                  BY MR. CORTEZ:

14          Q       Did you speak with anyone, at          about

15     YOUR concerns about the increase in the budget?

16          A       Yes.

17          Q       Can you walk us through those conversations?

18          A       So, the conversation where we said we're not

19     investing anymore money, into that particular project,

20     was in front of            representative.   His name was

21              .   And we -- it was myself,           Rishi, and

22     Cashel, in the room, and we kind of spoke honest.

23     We're not comfortable that the numbers keep changing

24     and we're not investing anymore money than what we put

25     into this, at this time.



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 1          Q    So, that was an in-person meeting that the

 2     four of you had?

 3          A    Yes.

 4          Q    And that was in 2022?

 5          A    That was in 2022.

 6          Q    Okay.    So, since that time, there's been no

 7     other, I guess, capital calls, at least for you, with

 8     your more than 5.1 million you've already deployed; is

 9     that correct?

10          A    Correct.

11          Q    Okay.    And I think you had mentioned this

12     earlier, you said the project has -- is not just a

13     field, there's been some preliminary development on

14     that?

15          A    (Shakes yes.)

16          Q    Has there been any projection as to when, you

17     know, construction will begin in earnest, and when the

18     project will be completed?

19          A    Recently?

20          Q    Yes.

21          A    We have an agreement to get bought out of

22     that project, so we kind of haven't been monitoring the

23     progress of that particular project.

24          Q    Okay.

25          A    So, I don't know -- I do know that the land



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 1     is still not closed, so -- and the work is happening on

 2     the land, even though the JV does not own the piece of

 3     land, yet.    So, which means if --

 4          Q      By JV, you mean the joint venture?

 5          A      The joint venture, that I'm, you know, still

 6     part of, with my 5.1 million.     Which means if the joint

 7     venture does not close on the land, the project doesn't

 8     happen.   All the money gets wiped out, yet the work

 9     that is getting done, has to get paid for.     So, it's

10     not common practice for work to start, before you own

11     the land.

12          Q      Does that put your investment at risk?

13          A      Yes.

14          Q      I think can we take a five-minute break.

15     We'll go off the record.     It's 11:16.

16                 (A brief recess was taken.)

17                 MR. CORTEZ:   We're back on the record, at

18     11:27 A.M.

19                 BY MR. CORTEZ:

20          Q      Mr. Kleyner, did you have any substantive

21     discussions with anyone from the commission staff,

22     during the break?

23          A      No.

24          Q      Okay.   Going back to speaking about the 551

25     Bayshore project, you mentioned that after you



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 1     committed $18 million to that project, at some time

 2     thereafter,          came in as a limited partner?

 3          A     Uh-huh.

 4          Q     Do you recall when that was, approximately?

 5          A     I'd say -- I don't recall exactly.     If I had

 6     to guess -- I don't recall exactly.     Maybe late '21,

 7     maybe mid/late '21, early '22.

 8          Q     Okay.   So, was it -- I'll say approximately a

 9     year after you had made your initial --

10          A     Yes.

11          Q     -- investment?

12          A     Yes.

13          Q     And why was it necessary for        to come in,

14     as another limited partner, to the 551 Bayshore

15     project?

16          A     Specific to that project?

17          Q     Yes.

18          A     It was not necessary because the financing

19     would have been provided by us.

20          Q     Okay.   So, there was no additional financing

21     needed, at that time, from outside of your initial

22     investment capital that was committed to that project?

23          A     Correct, we did not need them to come into

24     the project.

25          Q     Did you vote on whether or not to have



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 1     come in, as another limited partner?

 2          A      We agreed to it.   I don't remember it was a

 3     formal -- I don't believe it was like a formal vote,

 4     but we agreed to it.

 5          Q      If there was not a need for additional

 6     financing, what was the purpose of MICL's investment

 7     into 551?

 8          A      The reason for that was because they agreed

 9     to invest in multiple projects.     So, this was to

10     accommodate them being diversified, in multiple

11     projects.    And the same with us, that we were able to

12     now instead of 18 million, in one project, split 18

13     million between two projects.

14          Q      Okay.   And were you aware, prior to

15     coming into the project, were you aware of         as an

16     investor or anything; did you know anything about

17          A      Rishi mentioned that he had been talking to

18     this family, out of India.     He met with them a couple

19     of times, that they are a publically traded company,

20     out in India, in construction, I believe.      That was the

21     extent of my knowledge of them.

22          Q      So,      is an entity, correct?

23          A      So, we defer to them as      because this is

24     the name of their company, back in India.      They invest

25     here, under, you know, New Reform, LLCs.      We refer to



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 1     them, internally, as          but I don't know -- I don't

 2     know if the money, in those LLCs is corporate money,

 3     personal money; I don't know.

 4            Q   But is it your understanding that        is

 5     controlled by a family --

 6            A   Yes.   Sorry.

 7            Q   -- family in India?

 8            A   Yes.

 9            Q   Do they have any presence, be it individual

10     or business, other than the real estate projects, in

11     the United States, that you're aware of or no?

12            A   What do you mean by presence?

13            Q   Like is there anyone that you've met from

14            that resides within the United States?

15            A   Yes.

16            Q   And who is that?

17            A   Cashel -- I can find his last name, if you

18     need, and Vasel Shah is the son of Barack Shah, who

19     runs       back in India.

20            Q   So, Cashel and --

21            A   Vasel.

22            Q   -- Vasel.   They both live in the United

23     States?

24            A   Yes.

25            Q   Do you know where?



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 1           A   So, Chashel lives in Connecticut, and Vasel

 2     lives in Miami, in Edgewater.

 3           Q   Okay.

 4               BY MR. HOUCHIN:

 5           Q   Do you have an understanding as to whether

 6     the       entity has any offices, in the United States?

 7           A   I'm not a hundred percent sure, but I don't

 8     believe so, no.

 9           Q   Thank you.

10               BY MR. CORTEZ:

11           Q   And from your perspective, when         came in

12     and invested in 551 Bayshore, that allowed -- was it

13     your testimony that that allowed you to then diversify

14     your investment into more than just one of the Location

15     Venture's projects, correct?

16           A   Yes.    I didn't ask for that, but yes.

17           Q   Okay.   Did you see that as a benefit, from

18     your perspective, with your investment?

19           A   We saw that as a benefit to Location

20     Ventures, not to 551 Bayshore.

21           Q   But what about your investment through the --

22     whatever LLC was created for 551 Bayshore?

23           A   So, to the success of, specifically, 551

24     Bayshore, whether it was my 18 million or my 9 and

25     MICL's 9, wouldn't change the outcome of that project.



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 1     So, I didn't see that as a -- I saw that as neutral,

 2     from a success of the 551 Bayshore project and

 3                    that I was part of.

 4               MR. SHOHAT:    I think he's asking you about

 5     your interest.    Did you see it as a benefit to you?

 6               THE WITNESS:    So, again, when you asked me, I

 7     wore the hat of investor, in 551 Bayshore, to me, I was

 8     indifferent.    To me, as a shareholder, inside Location

 9     Ventures, there was a benefit to having a group that

10     was will to invest, in multiple projects.    So, that's

11     why I'm trying to distinguish between which me you're

12     referring to.

13               BY MR. CORTEZ:

14          Q    I think you might have been reading my mind.

15     Let's talk about your investment, in Location Ventures,

16     itself.   I know we've been talking about the 551

17     Bayshore project, and we'll come -- maybe come back to

18     that, in a little bit, but you are an investor, in the

19     Location Ventures entity, correct?

20          A    Yes.

21          Q    And when did you first make an investment, in

22     Location Ventures?    Again, I want to separate Location

23     Ventures business, from its real estate projects.

24          A    So, I don't remember exact date.    Again, it's

25     in multiple documents we shared with you.    It was after



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 1     551 Bayshore.      So, if I had to, again, estimate, I

 2     would say late -- hold on.     Late, very late 2020, or

 3     first half of 2021, if I had to like guess.     But,

 4     again, we have all those documents with those dates.

 5          Q      But approximately a few months after you made

 6     the --

 7          A      Yes.

 8          Q      -- investment commitment, to 551 Bayshore?

 9          A      Yes.

10          Q      Okay.   And can you just sort of walk us

11     through how you became an investor, in Location

12     Ventures, and maybe communications you had with Rishi,

13     prior to making that first investment into Location

14     Ventures?

15          A      So, the motivation for investment was we

16     wanted to have more active involvement in real estate

17     universe, call it, because now we had multiple LP

18     investments, and it kind of peeked our interest.       We

19     liked the fact that it was a -- we liked the real

20     estate, in general. So, we wanted to get involved in

21     real estate more, whether it was Location Ventures or

22     something else, at that time, we just knew that we

23     wanted to do something more, in real estate. As far as

24     communication with Rishi, about the potential

25     investment, I mean, there were a lot.     So, initially, a



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 1     first investment was -- let me think.    I think it was

 2     $10 million, for 18 percent, and we got a five-year put

 3     options, that if we were unhappy, for any reason, with

 4     our investment, we can get the 10 million out, I think

 5     it was at the five-year anniversary. Right? Rishi told

 6     us that he's got, personally, between him and DJ Mogha,

 7     13 million in the company.   That was extremely

 8     attractive to us because we wanted to invest in a

 9     company that had the CO/owner, with real skin in the

10     game, versus just a hired gun.    So, if it doesn't work

11     out, they say, sorry, and move on.    We felt 13 million

12     was a big number for somebody to have in the company,

13     to genuinely care about building a business. So, that

14     was real appeal to us.   They were private company; that

15     was appeal to us.   We wanted to be involved with a

16     private company.    He had a pipeline of projects that he

17     shared with us, that we thought were interesting.      He

18     told us that there's a real separation between Location

19     Ventures and Urbin, LLC.   That Urbin is under an Urbin,

20     LLC, which is a whole separate group of investors,

21     whole separate capital stack, and so on, but Location

22     Ventures just owns a piece of Urbin.    Because as I

23     mentioned before, I didn't like Urbin as a business, as

24     a concept, and so on, so I would have never invested

25     directly into, let's say, Urbin business model. So,



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 1     that was really the -- again, I don't know if I

 2     answered your question, but that was really kind of the

 3     thinking that went in, when we made the initial

 4     investment.

 5          Q    Do you remember if, initially, after you

 6     invested in 551 Bayshore, if Rishi approached you or

 7     asked you to consider investing into Location Ventures,

 8     itself?

 9          A    I honestly don't remember if that was his

10     outreach or it came up in the casual conversation, as

11     we were just talking about, like you know, giving him

12     some advice or input, on his business.    So, I don't

13     recall exactly how that conversation was -- how that

14     investment concept was born.

15          Q    You mentioned some of the, you know,

16     information that Rishi provided you, in terms of him

17     and DJ Mogha having 13 million invested, of their own

18     money, into the company.   What other information was

19     provided to you, that you considered, prior to

20     investing, about Location Ventures, itself, and its

21     business ventures?

22          A    He told us who was onboard and shared their

23     information, so we could speak to them.    He gave us

24     financials, for the company.    They were not audited and

25     they were, as we learned later, were not gap.     He



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 1     walked us through Villa Valencia, again the project

 2     that he recently -- that was the most kind of far-along

 3     project, for us to get a feel for what he's capable of.

 4     And we were actually impressed with Villa Valencia, as

 5     a project, as a -- call it a building.    So, we didn't

 6     look at the economics of it.    We just looked at the

 7     finished project and we thought he did a pretty good

 8     job with executing, you know, the product, of a luxury

 9     condo. But that's really, you know, those were the

10     pieces that we kind of had, at the time we made the

11     investment.

12          Q     Okay.   And in addition to that information,

13     and I think you said the unaudited financial

14     statements, did you review any other materials, for

15     example Location Ventures' web site or any other

16     information that was not provided to you, that you

17     considered, prior to making an investment in the

18     company?

19          A     We looked at the web site, but, you know,

20     that wasn't a major factor in the investment decision,

21     but we looked at the web site.

22          Q     And we've talked about, earlier, sort of the

23     investment and sort of how, in the project,

24     specifically, 551 Bayshore, and sort of the thinking in

25     terms of how the exit price would be and how LPs, such



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 1     as yourself, would make money. The investment into

 2     Location Ventures, is that investment set up

 3     differently than the investment in the projects?

 4          A     Yes.

 5          Q     And can you just walk us through those

 6     differences and how the investment is set up, in

 7     Location Ventures, itself?

 8          A     In Location Ventures, we just own equity in

 9     the entity.   So, we're participating in any profit

10     sharing that that entity has, equal to all the other

11     shareholders.     There's no preferential waterfalls.

12     It's just a common equity, inside a company.

13          Q     Okay.   As an investor, are you also

14     responsible for any losses that the company may

15     sustain?

16          A     Yes.

17          Q     Okay.

18          A     If the company had a loss, we would -- again,

19     the accountant would know better than myself, but we

20     would get a negative K-1, but we would have the same,

21     equal proportionate rights as all the other

22     shareholders, inside the company.

23          Q     Okay.   Prior to making your, I think, initial

24     $10 million investment, to Location Ventures, other

25     than speaking with Rishi, did you speak with anyone



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 1     else or consult with anyone else, concerning investing

 2     in Location Ventures?

 3            A   The board members.

 4            Q   And who were the board members, at least at

 5     that time?

 6            A   So, it was Scott Robbins, Tom Farrington, and

 7     Jonathan Wilma.

 8            Q   And were they also all investors, in Location

 9     Ventures, as well?

10            A   Yes.

11            Q   And can you just describe those conversations

12     and maybe some information that the board members

13     provided to you, at that time?

14            A   Sure.   We were asking general questions

15     about, specifically, Rishi, not as much the company,

16     because we saw the way the company was functioning.     It

17     was really a Rishi show.    So, we were really asking

18     questions about him. The kind of general consensus was

19     that he's very ambitious and he needs to be kind of

20     reigned in, if he tries to take on too much and do too

21     much, for both the capital means of the company and his

22     kind of time and ability.    So, that was one of the

23     risks that every -- pretty much we heard consistently,

24     from everyone, that he's ambitious.    He wants to do a

25     lot.    You've got to make sure you give him checks and



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 1     balances, and kind of reign in his ambitions.

 2          Q    In addition to those board members, did you

 3     speak with any other investors, at that time, that had

 4     invested in Location Ventures?

 5          A    No.

 6          Q    Were you aware of other investors, though,

 7     who those investors were, in Location Ventures?

 8          A    Yeah, they were on the operating agreement.

 9     I'm not sure if I was aware, before we decided -- like

10     before we started working -- made a decision and

11     started working on the operating agreement, or after,

12     but at some point, I was made aware of who the other

13     investors were.

14          Q    Okay.   Going back to your conversations with

15     the three board members, in addition to them telling

16     you about anything sort of, I guess, reign in Rishi,

17     did they provide information, as to how they were

18     trying to do so, as board members of the company, at

19     that time?

20          A    LV never had a truly functioning board, the

21     way the board should be functioning.    So, it was --

22     like I said, it was still a Rishi show, to a big

23     extent.   So, it kind of -- I got a sense that it was

24     more not on the board level, because it seemed like

25     there was points, and as we learned later, the board



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 1     wasn't really a functioning board, but it was more on a

 2     one-on-one level.    So, Scott would talk to Rishi and

 3     like, hey, you're got to slow down.    Wilma would talk

 4     to Rishi and say, hey, don't do this or don't do that.

 5     But it wasn't -- it didn't seem like it was in any kind

 6     of formal way. It was more on just a personal way.

 7          Q    And in your opinion, did those efforts in

 8     trying to sort of slow down and reign in Rishi, did

 9     those efforts work, at all or --

10          A    By them or by us?

11          Q    Well, just at that -- like sitting here now,

12     looking back, you said it was more personal one-on-one

13     conversations.    Did that really affect what Rishi was

14     doing or not doing?

15          A    Yeah, I don't think I would be sitting here

16     now, if he listened to her advice.    So, no, I don't

17     think those conversations were effective.    And we had

18     multiple, and multiple, and multiple conversations,

19     about what not to do.

20          Q    Okay.   Before we turn to the next exhibit,

21     how much money have you committed -- I know you

22     committed, to just Location Ventures?

23          A    Just the Location Ventures entity?

24          Q    Correct.

25          A    I believe it's 24, 24 and a half million.



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 1          Q    Okay.

 2               BY MR. HOUCHIN:

 3          Q    You said earlier that you invested in

 4     Location Ventures, in order to get a more active

 5     involvement in real estate.

 6          A    (Shakes yes.)

 7          Q    Correct?

 8          A    Yes.

 9          Q    When you say more active involvement, that's

10     in terms of your exposure to the real estate investment

11     sector, correct, as opposed to actually managing real

12     estate investment projects, yourself?

13          A    Correct, we had no interest in managing

14     things, but we wanted to learn a lot about real estate.

15     And we thought this was a good middle ground, where

16     we're not running a development company.    We're not

17     responsible for capital raising.    We're not responsible

18     for any investors.   We're not responsible for any, you

19     know, of those responsibilities, but we have visibility

20     into the inner workings of a development company, from

21     how do you pick the land, how do you decide which

22     concept you're going to come up with, how do you pick

23     which architect is going to come up with this concept,

24     how do you go through the approval process, how do you

25     execute, how do you sell, how do you pick who is going



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 1     to sell.   Like, all those components is what we were

 2     interested in learning about.    And we thought this was

 3     a good middle ground, that we are -- have enough

 4     visibility, but no responsibility, to actually execute

 5     on those components.

 6           Q    So, is it fair to say that you still

 7     viewed -- strike that. Is it fair to say you viewed

 8     yourself as a passive investor, in Location Ventures?

 9           A    Yes.

10           Q    And you were looking to Rishi Kapoor and the

11     Location Ventures employees or officers, to generate

12     profits for you, as an investor?

13           A    Absolutely, yes.

14           Q    OKAY.   Thank you.

15                BY MR. CORTEZ:

16           Q    Along those lines, when you were deciding to

17     make your initial investment, was there any sort of

18     guarantee of investment of returns, on your investment,

19     for the Location Ventures entity?

20           A    No, there was no guarantee of return.    The

21     only guarantee we got, we got what I said was like a

22     put option, that in five years, we can sell the shares

23     back to Location Ventures, as part of what we paid for

24     it.

25           Q    Were there any projections, as looking



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 1     forward, as to what your possible returns may be, you

 2     know, in year one, year two, going forward, before you

 3     made your investment?

 4          A    Yes.

 5          Q    And what -- if you can just briefly tell us

 6     what those were?

 7          A    They were huge.    No, so they shared -- they

 8     came up with the -- with a formula, how they thought

 9     the company was worth a hundred million dollars.      We

10     did not understand how they came up with it, so they

11     shared, with us, an Excel, that showed all these like

12     projections and future profits.    And if you discounted

13     backwards and multiply it by this, that, and the other,

14     again, we thought they were pretty ambitious.     And we

15     said, okay, well this is a lot of theories, here,

16     because the company is not at the stage where there's

17     been enough projects -- there's been really no projects

18     executed, completed, exited, that we can say, you know,

19     you executed this and you made $10 million.    You've got

20     three more of these, in the pipeline, so that's another

21     30 million coming.   So, that was not the state of

22     affairs, with the company.    It was still, to a big

23     extent, a start-up. So, any projections that were

24     shared with us, we -- you know, we did not -- we kind

25     of questioned how realistic they are.    But in all



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 1     fairness, it's not uncommon for start-ups to have

 2     projections that are ambitious.

 3           Q   And at that time, was it the case that only

 4     Villa Valencia was the only project that was near

 5     completion, that Location Ventures had, at that time,

 6     or was there any other projects that may have been

 7     completed or near completed?

 8           A   No, I think it was just Villa Valencia.      I

 9     think there might have been some single family homes --

10     no, there was a single family home.    Arduno?    No, I

11     forget the address, but there was a single family home

12     that was near completion, but that was it.    That was

13     just the only two.

14           Q   And you mentioned Arduno?

15           A   Arduno was a -- I never even seen it.      Arduno

16     was some -- it was kind of there before my day, call

17     it.   I think it was a multi family that they

18     contributed when they started the company.    There was a

19     roll-up, in the company.   It wasn't like your typical,

20     they started day one, brand new entity, everybody put

21     in a dollar, and now that's the capital. As we learned

22     later, a lot of this 13 million that Rishi told us he

23     had in the company was in -- we were never able to

24     truly verify that it was a true 13 million.      Some of it

25     was some assets that he contributed.    And we're not



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 1     sure how he came up with the value of those assets.

 2     But we never -- and that was a big motivator for us,

 3     when we made the investment. But we, to this day, if

 4     you ask me how much of that 13 million is, you know, if

 5     I can explain to you the breakdown of the 13 million,

 6     I, personally, at this point, cannot.

 7          Q    So, it was just a representation that Rishi

 8     made to you, I think there was in that meeting, the

 9     four of you; you, Johanna, Rishi -- and I forget the

10     other gentleman.

11          A    Cashel.

12          Q    Cashel.   That he just had, you know, DJ Mogha

13     and I, Rishi Kapoor, have invested 13 million?

14          A    No.   13 million was always on the financials,

15     that were provided to us, for the Location Ventures.

16     Cashel was not involved in Location Ventures entity.

17     They were involved in 551.   So --

18          Q    Okay.    But there was -- other than on the

19     financial statement, Rishi never provided you any other

20     information or documents, for you to verify that $13

21     million was actually his and DJ Mother's, that was

22     invested in Location Ventures?

23          A    We asked for a breakdown of that, like way

24     later, before we decided to part ways with him, and I

25     never received the real -- something that I could truly



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 1     understand, okay, this is where the $13 million came

 2     from. Like one of the examples he used, that -- and I

 3     think it was in Arduno, that they bought Arduno for X,

 4     they assumed that it's going to be worth Y.    So, when

 5     they contributed Arduno, they contributed at Y value,

 6     not at X value, which was the current market price,

 7     which is, again, not gap, right?    It was Rishi

 8     accounting. And -- but, yeah.    So, based on just that

 9     one example, we got concerned that, you know, we didn't

10     have a clear understanding of the rest of the 13

11     million, you know.    And when we ask him how much of it

12     was cash?    How much did you put in actual cash, we

13     never got a real answer.

14                           (SEC Exhibit No. 4 was marked for

15                           identification.)

16                 BY MR. CORTEZ:

17          Q      I'm handing you what's been marked as Exhibit

18     Four, which is a document bates stamped

19     FL-4347_Kleyner_LV_LLC_0001101 through 74.    This is a

20     lengthy document.    I'm not going to be asking you

21     questions on every single page, but just take a moment

22     to review, and let us know when you're ready?

23          A      Okay.   As long as you don't expect me to read

24     it, I'm ready.

25          Q      Mr. Kleyner, do you recognize this document?



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 1          A      Yes.

 2          Q      And what is it?

 3          A      It's the second amendment to the operating

 4     agreement of Location Ventures.

 5          Q      Did you or anyone else, on behalf -- on your

 6     behalf, have an opportunity to review this agreement,

 7     prior to signing and executing the agreement, if you

 8     recall?

 9          A      Our attorneys did.

10          Q      Okay.   Did you, yourself, or just your

11     attorneys?

12          A      No.

13          Q      Do you know if, sitting here today -- I know

14     this is the second amended restating operating

15     agreement, for Location Ventures, effective as of April

16     19, 2021.    Is this the latest operative agreement or

17     has there been any amendments or changes, to this

18     agreement?

19          A      I have to see if this is the first investment

20     we made or the second.

21          Q      Well, we can go to, if that helps, page --

22     well, I'll give you the bates stamp number.

23          A      Yeah, Exhibit A.

24          Q      Yes, Exhibit A.

25          A      Yes.    So, this is not the latest operating



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 1     agreement.

 2           Q    Okay.   So, let's just start here, though, on

 3     what's bates stamped number 1162, if you will --

 4           A    Uh-huh.

 5           Q    -- which shows "Exhibit A, schedule of

 6     members"; do you see that?

 7           A    Yes.

 8           Q    At the very bottom, it says, "                as

 9     trustee,                Attention Alex Kleyner and

10     Ulis"; do you see that?

11           A    Yes.

12           Q    And in the next column, it says, "initial

13     capital contributions $10 million".

14           A    Yes.

15           Q    Was that the initial capital contribution

16     that you made?

17           A    Yes.

18           Q    Now, if you can just sort of explain, what is

19

20           A    So, it's a -- our family trust.   DA stands

21     for        and Alex.

22           Q    Is there an entity related to

23     called DA Capital?

24           A    Yes.

25           Q    And what is DA Capital?



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 1           A   So, we have, basically, three entities.      The

 2     DA Capital is just our family LLC that pays family

 3     bills and such.   It's not really an operating business,

 4     it's just an entity that we pay bills from.    We have

 5     the               that is a trust for our kids, for the

 6     benefit of our kids, that owns certain assets.      And,

 7     then, we have the                which stands for

 8     Alex Real Estate trust.    That's the trust that was

 9     created specifically for Location Ventures investment.

10     So, current ownership in Location Ventures is DARE

11     Trust, which spun out of               specifically for

12     Location Ventures asset.

13           Q   And, then, I know we're speaking about

14     Location Ventures, and then the investments in the

15     specific projects, those are separate LLCs that were

16     formed, specifically, to invest in the projects.     In

17     other words,               is not the LP of 551 Bayshore?

18           A   Yes.

19           Q   Or 1505 Ponce?

20           A   Correct.

21           Q   Okay.   So, you mentioned this was the initial

22     investment made by you and your wife's trust, $10

23     million, to Location Ventures.    The other members that

24     are listed on this page and the following page, are

25     these -- do you know if these investors are still



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 1     members of Location Ventures?

 2           A    Some are and some are not.

 3           Q    Okay.   And generally speaking, the ones that

 4     are not, were they essentially able to redeem their

 5     investments, or otherwise get bought out, by Location

 6     Ventures, to get their principle back?

 7           A    Yes.

 8           Q    Okay.

 9                BY MR. O'BRIEN:

10           Q    Are you able to identify which ones are still

11     investors and which ones are not, from looking at that

12     list?

13           A    Yes.    So, Latitude Investment 1, I believe is

14     not an investor anymore.     We bought them out, part of

15     our second investment, into Location Ventures. Halperin

16     is.   Thomas is.   Jonathan Wilma is not. He left shortly

17     after we came into the company.     Jared is.   Everybody

18     else is.

19           Q    Thank you.

20                BY MR. CORTEZ:

21           Q    And are there other investors, not on this

22     list, that are current members, of Location Ventures?

23           A    Yes.

24           Q    And, approximately, how many more?

25           A    Maybe one or two more.



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 1             Q   I mean, sitting here today, do you know who

 2     those one or two --

 3             A   I can look it up.       I don't remember, off the

 4     top of my head.      There is a Beth Wire, I believe is

 5     another investor.      There may be another one; one or

 6     two.

 7             Q   Okay.    Do you see in the column, where it

 8     says "percentage interest"?

 9             A   Uh-huh.

10             Q   And, again, I know this is your initial

11     investment.       It says that               at that time, had

12     an 18.18 percentage interest, in Location Ventures.

13     What is that percentage interest today, of Location

14     Ventures?

15            A    As we sit here today?

16            Q    Yes.

17            A    We have about 13 and a half percent, roughly,

18     left.

19            Q    13?

20            A    13 and a half percent, about.

21            Q    So, less than what was initially --

22                 MR. SHOHAT:    You said left?

23                 THE WITNESS:    Left.

24                 MR. SHOHAT:    Okay.    He said we have 13

25     percent left.



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 1               MR. CORTEZ:   Okay.

 2               BY MR. CORTEZ:

 3          Q    So, my question is:    Some of your investment

 4     has been redeemed, since 2021?

 5          A    Yes.

 6          Q    Okay.    And I know you had mentioned that

 7     you're seeking to get bought out on some, if not all,

 8     of your investment, but we'll get to that a little bit

 9     later in the testimony, but just to be clear, some of

10     that has been paid back, some of your principle has

11     been paid back, as we're sitting here today, correct?

12          A    Yes.

13          Q    Okay.

14          A    Just to -- yes.   Yes.

15          Q    If you can turn to the beginning of the

16     document, it's page 11, bates stamped 1111.    Do you

17     see, at the bottom, it says, "Article 4 capital,

18     capital accounts, allocations of profits and losses";

19     do you see that?

20          A    Yes.

21          Q    And, then, under "Article 4.1 initial capital

22     contributions", sort of fourth line down, it says, "the

23     manager and the members hereby acknowledge and agree

24     that on the effective date, Alex Kleyner, an

25     individual, extended a loan to the company, in the



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 1     original principle amount of $10 million". Why did you

 2     loan Location Ventures $10 million, at this time?

 3          A    It's funny, I don't remember this.    I believe

 4     there was an urgent need for capital because they

 5     needed to close on something, and we didn't have the --

 6     possibly, a trust wasn't set up yet.    So, we agreed

 7     that we're going to have a loan that then converts into

 8     equity.   I believe that's what happened here, but

 9     that's funny, I don't even remember this.

10          Q    And --

11          A    Sorry.   We gave a ten million loan, then we

12     made a ten million investment and paid the loan.     I

13     think that's what happened.

14          Q    So, to go through this, it appears that the

15     ten million was being paid back by the capital

16     contributions of what is defined, in this agreement, as

17     AD Investor, which is defined as               as trustee

18     of the               Does that refresh your recollection

19     in terms of how that --

20          A    Yes.   So, I believe, again, they needed money

21     urgently, for to close on something, and we agreed that

22     we're going to give them a loan.    And as soon as the

23     documents are ready for us to close, under the trust,

24     the trust makes the investment, and the loan was

25     repaid.



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 1          Q    So, you made the loan, individually, but then

 2     once the documents were executed, the trust essentially

 3     paid back that loan?

 4          A    Well, not directly, but indirectly through

 5     Location Ventures, yes.

 6          Q    Right.    Okay.   Thank you. If we can move to

 7     page 22, of the agreement? It's bates stamped 1122.     Do

 8     you see, at the very bottom, Article 6.6, it says,

 9     "member decisions"?

10          A    Uh-huh.

11          Q    And it says, "not withstanding any other

12     provision of this agreement, to the contrary, no action

13     may be taken by the company, including by the manager,

14     in connection with the matters set forth below, without

15     members super majority approval". And, then, on the

16     next page, it sort of delineates the different things

17     that require member super majority approval.

18          A    Okay.

19          Q    And I will represent to you, again, this is

20     somewhat of a long document, that members super

21     majority approval is defined as 75 percent of the

22     members votes.

23          A    Okay.

24          Q    So, if you look -- I just want to refer to a

25     couple of subsections, here.     If you look at Subsection



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 1     2, it notes the occurrence of direct indebtedness, by

 2     the company, or pledging, merging, or otherwise

 3     encumbering all or substantially all of the assets of

 4     the company". Then, Subsections -- sort of 5 and 6

 5     reference dissolving, liquidating, winding up the

 6     affairs of the company, or filing for bankruptcy of the

 7     company. I just wanted to ask, since you've been a

 8     member and investor of Location Ventures, has there

 9     ever been any instances in which there had to be a

10     vote, for Location Ventures to incur debt, sort of as

11     set forth here?

12          A    No.

13          Q    Okay.    And what is your understanding when

14     you're reading, in this subsection, to the occurrence

15     of direct indebtedness; what is your understanding of

16     that?

17          A    Sorry.   Let me back up, to your previous

18     question. So, the first time we had an uncomfortable

19     conversation, with Rishi, was when we found out that he

20     took the money from Location Ventures, and lent it to

21     Urbin, LLC, for Urbin needs.    That was never approved

22     by anybody.   So, that's when we met, and we said,

23     consider this strike one.   This never happens again and

24     that loan has to get repaid like immediately. He told

25     us that there's a closing, in Urbin, and the money is



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 1     going to come back soon.       So, I don't know if the loan

 2     from Location Ventures, for Urbin, qualifies for

 3     company taking on indebtedness because they're kind of

 4     related entities.     So, I'm not sure if that qualifies,

 5     here.     I'm not a lawyer.    But that was the first time

 6     where we said, strike one.       This should never happen

 7     again, where he took money and just moved it over to

 8     Urbin, without anybody's consent or permission.

 9           Q      When did you find this out?

10           A      In passing, in a conversation, and this was

11     in, I would say, Q-4, 2021.

12           Q      Do you remember how much money Location

13     Ventures loaned to Urbin?

14           A      I think it was around -- it was a real

15     number. It was around like maybe $10 million.

16           Q      Okay.   And that was something that was not

17     disclosed to you, as a member of Location Ventures,

18     prior to the loan being made to Urbin?

19           A      We were furious.    No, it was not disclosed to

20     us.

21           Q      Do you know or -- since that time, have you

22     found out whether that was disclosed to any of the

23     other members or investors, at Location Ventures?

24           A      I don't know.    I'm not sure.   The -- some of

25     the board members, I think this came up in passing, in



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 1     a conversation, and I think some of the board members

 2     were there, but I'm not a hundred percent sure.

 3                BY MR. HOUCHIN:

 4          Q     The conversation that you referenced, who

 5     actually made that communication that brought this

 6     issue to your attention; was that Mr. Kapoor or someone

 7     else, at Location Ventures?

 8          A     Well, Kapoor mentioned it.   He didn't mention

 9     it in the context of an issue.    He mentioned it just in

10     passing.   We said, whoa, wait a second, what do you

11     mean?    Like whatever the number is, 10 million went to

12     Urbin.   We're like we don't own a hundred percent of

13     Urbin, as Location Ventures, why are we subsidizing

14     Urbin projects?   There should be -- if they need money,

15     they've got to do capital calls, to their own

16     investors. And we got the response, well, we've always

17     been doing it this way, which kind of got under my

18     skin.    I'm like that's not an excuse for actions.

19     We've always been doing this, that's not an answer I

20     will accept. So, he's the one, who mentioned it in

21     passing, not in the context of hey, guys, I made a

22     mistake, or there was a problem.    It was just, you

23     know, completely in an unrelated conversation, this was

24     just a side conversation that came out of it.

25                BY MR. CORTEZ:



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 1          Q     You mentioned that Location Ventures did

 2     not -- only owned a piece of Urbin, but that -- is it

 3     your understanding that the majority of Urbin is owned

 4     by outside investors and not Location Ventures?

 5          A     So, that understanding keeps changing because

 6     we can't get a clear answer, from Rishi, how much of

 7     Urbin is owned by Location Ventures.    We heard as low

 8     as 40 percent and as high as 60 percent.    So, we never

 9     really got a -- if you ask me today, how much of

10     Location Ventures is owned by -- I'm sorry.    How much

11     of Urbin is owned by Location Ventures, I don't have an

12     exact number.   And every time we ask and he gives a

13     different number, he's like but that was always the

14     number.   So, I don't know what the story there is,

15     right?    But there's other investors in Urbin that are

16     not Location Ventures.

17          Q     But when sort of the initial representation

18     was made, prior to you and your wife contributing $10

19     million, to Location Ventures, was it represented to

20     you that Location Ventures had a small ownership

21     interest in Urbin?

22          A     It wasn't a percent that was small, but it

23     was a percent that Urbin has its own pulse, and has its

24     own capital stack, and has its own investors, that LV

25     is just an investor, not a -- any time Urbin needs



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 1     money, LV is the one to provide it. Our understanding

 2     is there's a whole separate set of investors, and has a

 3     separate P&L, separate operating procedures, separate

 4     projects.    We just -- as LV, we're just a shareholder.

 5          Q      Was it your understanding that the sort of

 6     operations of Urbin was controlled by Rishi Kapoor, at

 7     that time, or was it your understanding that there was

 8     a separate group of people that were sort of

 9     controlling the day-to-day operations of Urbin?

10          A      It was Rishi Kapoor.   What was told to us is

11     that Urbin is small and only has a handful of projects.

12     LV resources are responsible for running those

13     projects, as Urbin gets on its own, you know, gets more

14     mature, it will have its own management team and so

15     forth, which still has not happened, to this day, but

16     it was Rishi, who ran Urbin.

17          Q      All right.   Do you recall since investing in

18     Location Ventures, has there been any times in which

19     there had to be a vote, by members, for the company to

20     take certain actions?    Has there ever been --

21          A      No.

22          Q      There's never been a time where the members

23     had to vote on something, on behalf of Location

24     Ventures?

25          A      I don't recall anything like that, no.



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 1          Q     Okay.   So, if you can turn to the next page,

 2     page 24, it's bates stamped 1124, Article 7.    It says,

 3     "the rights, powers, and duties, of the manager of the

 4     budget". So, Article 7.1 references the manager's

 5     authority to control and operate Location Ventures.

 6     And article 7.1(a) states that "the members hereby

 7     appoint Rishi Kapoor, as the initial manager". At the

 8     time of your investment, was Rishi Kapoor already the

 9     manager?   I mean, was there a -- do you recall ever

10     being a formal appointment of Rishi Kapoor, or was he

11     already the manager, at the time you invested in

12     Location Ventures?

13          A     He was already the manager.

14          Q     Okay.   Article 7.1(b), sort of -- kind of --

15     sort of the fifth line down states, "the manager may,

16     without the consent of the board or any member, cause

17     the company to deviate from an approved budget, by no

18     more than seven and a half percent, in total, for the

19     entire approved budget". Do you see that?

20          A     Yes.

21          Q     Are you aware if the approved budget, of

22     Location Ventures, has ever deviated by more than 7.5

23     percent?

24          A     Yes.

25          Q     Can you tell me about those times or



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 1     instances where it has?

 2          A    The budget that was shown to us, in late

 3     2021, is worthless.   The company looks nothing like it.

 4     The payroll is multiples.   Rishi took out millions, in

 5     fees. There's nothing about 2022 actuals, that looks

 6     similar to 2021 approved budget.

 7          Q    So, the 2022 actuals, versus the late 2021

 8     budget, are almost two separate and completely

 9     different budgets?

10          A    Two random documents.

11          Q    So, let's -- since we're speaking about the

12     budget, if you can turn to Exhibit B?    It's page 64, of

13     this Exhibit; 1164 is the bates stamp number.

14          A    I'm sorry, 164?

15          Q    1164.

16          A    1164.

17          Q    So, you see it says, before you turn to the

18     next page, "Exhibit B, approved budget". Then, we turn

19     to the next page, bates stamped 1165.

20          A    Uh-huh.

21          Q    You see it says, "Location Ventures company

22     operation budget for the 2021 year".    Do you see that?

23          A    Uh-huh.

24          Q    And, then, it goes on to list fixed cost, on

25     a monthly and annual basis, variable cost, on a monthly



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 1     and annual basis, contingency.    And, then, it sums up

 2     those three categories of costs.    And, then, it says,

 3     "total operating expenses", at the bottom, "monthly,

 4     approximately $374,958, and then annual, $4.45

 5     million". Do you see that?

 6          A     Yes.

 7          Q     Going back to your response, this budget that

 8     was present, in 2021, this looks completely different

 9     from the budget that was presented to you, in 2022?

10          A     So, I want to clarify something.   This is

11     operating budget going into 2021.    What I'm referring

12     to, at the end of 2021, we were shown a budget for

13     2022, and then the actuals for 2022, versus the budget

14     that was shown to us in 2021, completely different.

15     This is the budget for 2021, that was put together in

16     2020.    The actual 2021s -- again, I don't have

17     financials in front of me, but my assumption is it

18     looks different, but I don't have them in front of me.

19          Q     So, just to be clear, this Exhibit B, this

20     budget is sort of forward looking into 2021.    Again,

21     the agreement is dated April 19, 2021.    But it's your

22     understanding this was put together end of 2022,

23     looking forward into 2021, correct?

24          A     Yes.   Yes, this was put together late 2020 or

25     early 2021, for the forward looking 2021 budget.



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 1          Q    And, then, after you -- after you received

 2     this budget, did -- you received, I think, an actual

 3     2021 budget.   Was that sometime toward the end of 2021?

 4          A    I don't recall.   I'm sure -- I assume we

 5     received some kind of financial statement for that, for

 6     2021, yes.

 7          Q    And, then, for 2022, was it similar in that,

 8     again end of 2021, early 2022, you received a budget

 9     for this year, and then toward the end of 2022, here's

10     what the actual numbers were?

11          A    Yes.

12          Q    And that's what you're saying was completely

13     different?

14          A    Completely different.

15          Q    Okay.   So, generally speaking, these budgets,

16     you know, we're looking for one for 2021, and the ones

17     you mentioned for 2022, were those put together by

18     Rishi, with the input of, I think you had mentioned,

19     the project budgets, with DJ Mogha and George, if I

20     recall correctly, or --

21          A    They were presented by Rishi.    They were put

22     together, as far as I understand, with Rishi and DJ,

23     because DJ, at this time, was the CFO of the company.

24     Who else was involved in putting this together, I don't

25     know, for sure.   I heard George's name mentioned quite



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 1     a bit, but in the context for the models of the

 2     projects. As far as the actual budget, who prepared it,

 3     I'm not sure.

 4          Q    And these budgets, for Location Ventures,

 5     they're different than the budgets that we spoke about

 6     earlier for the projects, correct?

 7          A    Correct.

 8          Q    This appears, but I'll ask you, just to be

 9     really on the, sort of, payroll, and sort of operating

10     expenses, for the company, on a monthly and annualized

11     basis; is that correct?

12          A    Yes.

13          Q    So, understanding the numbers are different

14     and the budgets changed, from 2021, 2022, I just would

15     like to use this as an example.    So, where it says, up

16     top, "fixed cost Rishi Kapoor".    It says his annual

17     compensation, I guess, is $350,000; you see?

18          A    Yes.

19          Q    So, you had mentioned that for 2022 there

20     were a lot more employees and Rishi took millions of

21     dollars of fees.   And we don't have that in front of

22     us, today, but was it similar to this, in other words,

23     did you get something that said Rishi Kapoor's salary

24     was 350 or 400,000, and then it turned out it was that,

25     but then there was millions of dollars of fees that



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 1     weren't accounted for?   Can you just maybe -- I'm just

 2     trying to understand, a little bit more, the specifics,

 3     when you say like the 2022 actuals were completely

 4     different than what was shown.

 5          A    We found later in the year, 2022, that there

 6     were payments made to Rishi, from LV, that were never

 7     authorized by shareholders of the board, or anybody.

 8     And were never truly shown, on financials, as you know,

 9     payment to Rishi.   So, yes.

10          Q    What explanation did he give you, once you

11     found that out?

12          A    He said the company always function in a way

13     that any time a deal is closed, there's commissions

14     charged, for closing of the land, personal guarantees,

15     putting the equity in place, putting debt in place, and

16     so on, and he felt that he was entitled to those

17     commissions. That part of those commissions, or those

18     fees, went to pay the -- into the bonus pool, for the

19     employees, and he was just part of the bonus pool.     He

20     determined, himself, how much, A), we told him that the

21     agreement clearly states that you're not to make more

22     than $400,000 a year.    So, no matter how you feel these

23     fees are justified, you can't just take them.     And he

24     said those fees are a combination of the money he's

25     been owed from before.   So, we got some answer that was



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 1     not an answer we were, you know, that was -- we were

 2     comfortable with.     He said some of it was owed from

 3     before.    Some of it is fees for the recent projects,

 4     which when we asked him, show us how these fees are

 5     owed to you, maybe these fees are owed to Location

 6     Ventures. If you can show us the paperwork where it's

 7     owed to Location Ventures, please show us the paperwork

 8     where these fees are somehow owed to you, and that was

 9     never provided to us.

10          Q     So, you mentioned that the operating

11     agreement, I know it's not the most up-to-date one, but

12     from your recollection was that Rishi's compensation

13     was capped, him, personally, at 400,000; is that

14     correct?

15          A     Him and DJ, yes.

16          Q     Both, him and DJ, at 400,000?

17          A     I believe so, yes.

18          Q     And I think you had mentioned that the

19     operating agreements provided for fees being paid.       I

20     just want to be clear.    Was that the operating

21     agreements for the projects, in terms of like

22     development fees, marketing fees, acquisition fees,

23     versus what's stated in the Location Ventures operating

24     agreement?

25          A     Correct.



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 1          Q    So, was Rishi's explanation that these fees

 2     were being -- that should have been, I guess were --

 3     were those fees listed in the project's operating

 4     agreements that then were paid to him, or do you have

 5     an understanding of how, mechanically, that worked?

 6          A    So, projects had certain fees that were due

 7     to the sponsor, in this instance, it's Location

 8     Ventures, right?   There were -- and then those fees

 9     were due when certain events take place, the fee is due

10     to Location Ventures.   Once is comes into Location

11     Ventures, it's supposed to stay, as we understand it,

12     in Location Ventures.   It becomes LV revenue, right?

13     So, we -- you know, late last year, as we kind of

14     started looking into some things, we saw that the

15     timing of the fees was wrong, meaning LV was charging a

16     fee to the project, prematurely.    There were some fees

17     that we didn't understand what this fee is for.     Forget

18     about doing it prematurely, we're not sure what it's

19     for. Then, there's money, from Location Ventures, being

20     transferred into Rishi's personal bank, even though

21     he's technically a member of the entity.    Patriots

22     United is a member of an entity. So, there's really

23     no -- we could not find any legal document or get an

24     explanation from him, other than we've always been

25     doing it this way, to justify, to help us understand



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 1     the movement of the money.

 2          Q     And did you see any sort of documentation,

 3     bank records, wire transfers, that showed that money

 4     from the Location Ventures sponsor was being

 5     transferred directly to Rishi Kapoor's personal bank

 6     account, versus I think you mentioned Patriot Capital

 7     is one of the members of Location Ventures?

 8          A     I believe late last year, when we kind of --

 9     again, when the relationship started unraveling, we got

10     access to the bank accounts and had our accountant

11     start looking through transactions, and I believe he

12     found those transactions in, like maybe August, 2022,

13     there was like 1.3 million, or something, that was

14     transferred to Rishi Kapoor's Bank of America account.

15          Q     And the bank statements that you and your

16     accountant reviewed, were those Location Ventures bank

17     account statements, for the company, or were those

18     other different entity bank accounts, for different

19     individual bank accounts?

20                MR. SHOHAT:    Let me interjection something

21     here.    The work that the accountant did was done for a

22     lawyer, at Kapora, Anthony Atkapora. Correct me if I'm

23     wrong, if I say anything wrong.

24                THE WITNESS:   That's true.

25                MR. SHOHAT:    So, we've shared with you a



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 1     spread sheet, that shows this money, that came from the

 2     accountant.   The accountant's name is Ed McWilliams,

 3     who was retained by Anthony Atkapora, to look at the

 4     books, the Quick Books, of Location Ventures.      So, most

 5     of what this information is, is attorney/client

 6     privilege information.   But we shared, with you, a

 7     spread sheet, that was given by Alex, to Rishi.      So,

 8     it's not privileged.    It was prepared by the

 9     accountant.   It shows these monies, from the Quick

10     Books and you have it, in your records.

11               MR. WEINSTEIN:   It should be -- I know I sent

12     a lot of stuff to you, in the last couple of days.       It

13     should be the last document, in the third production.

14     So, it's going to be 4657.

15               MR. CORTEZ:    4657.

16               MR. WEINSTEIN:   It's like a stand-alone page.

17               MR. SHOHAT:    Just so you understand,

18     everybody.    We have to be very careful about privilege,

19     because of all the litigation that's going on.      We

20     don't want to be accused of selectively waiving

21     privilege here, and then there's an argument that we

22     waived privilege. So, we're walking that line, here.

23               So, we are going to stand on the

24     attorney/client privilege and work product, but we

25     shared this document to you because it was given to



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 1     Rishi.    So, it's no longer privileged. So, you have the

 2     numbers and they're sourced from Ed McWilliams, the

 3     accountant, looking at the Quick Books.

 4                MR. CORTEZ:    Okay.    Thank you.   We appreciate

 5     that note and certainly we don't want to ask anything

 6     that would, you know, impinge upon any privilege or

 7     work product privilege.     We do appreciate that.     And we

 8     did receive those productions, I think the last

 9     production made yesterday.

10                MR. WEINSTEIN:    The one I sent you last

11     night -- we can do this on or off the record.        It

12     doesn't matter to me.

13                MR. CORTEZ:    We can go off the record, for a

14     moment.

15                THE WITNESS:   Can I check my phone?

16                MR. CORTEZ:    Yes.    We're off the record, at

17     12:27.

18                (A brief recess was taken.)

19                MR. CORTEZ:    Back on the record, at 12:31

20     P.M.

21                Mr. Kleyner, did you have any substantive

22     discussions, with anyone from the Commission staff,

23     during the break?

24                THE WITNESS:   No.

25                BY MR. CORTEZ:



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 1          Q    So, prior to going off the record, we were

 2     looking at Exhibit Four, the second amended operating

 3     agreement, for Location Ventures, and we were on the

 4     operation budget, for 2021. And you were talking about

 5     how the numbers, at least for 2022, from what was

 6     projected for 2022, compared to the actuals, were very

 7     different.   And I think we mentioned some -- about

 8     Rishi Kapoor and the fees that you found out about.

 9     What other things do you recall that were different

10     about the actuals, in 2022, versus what was shown for

11     the budget, of 2022?

12          A    Payroll was significantly higher.    Base

13     salaries -- base salaries were higher.    So, he gave out

14     raises to people.   There was still that loan, on the

15     books, from Urbin to LV.   I believe there's still that

16     loan, on the books, and any time we ask him for the

17     exact amount, it goes from 6 to 16 million.    So, I

18     still don't know.

19          Q    And just to be clear, when you say the loan

20     that LV gave to Urbin?

21          A    Yes.

22          Q    And you're saying --

23          A    That was never repaid in full, as far as I

24     know.

25          Q    And you're saying the number varies between 6



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 1     and $16 million?

 2          A    So, every time we ask Rishi what's going on

 3     with the loan, we get a different answer.     So, I don't

 4     know how much the loan is.   Sometimes he tells us it's

 5     6. Sometimes it's 8.    It goes up to 10.   It goes down.

 6     And we clearly told him, you can't -- LV is not a line

 7     of credit, for Urbin.   You can't just have money and

 8     roll it back and forth.   Right?   There's never been

 9     documentation.    There's no interest being paid. LV is

10     not here to subsidize the Urbin project. It's just not.

11     He says, I understand, of course, of course.     And the

12     loan is still outstanding. As of Friday, when I

13     asked -- Friday, I actually saw Rishi and I asked him,

14     specifically, about the loan, he said, I think it's

15     like 6 million.    If you look at financials, it's as

16     high as 10 million.    Sometimes, it goes higher.   So,

17     it's definitely -- there's been -- based on financials,

18     there's been transactions back and forth.     There's

19     definitely back.   I don't know about forth.    Or I guess

20     the other way, forth, and maybe not back.     But -- so

21     that's different from any -- that was never in any of

22     the budget, for us to give out these kind of loans.

23     Yeah, so, the payroll is about 600,000 a month, now.

24     That was never in the budget that we approved. The

25     payments to Rishi were certainly not in the budget that



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 1     we approved.   Those are really the big ones.    There are

 2     extension fees being paid, on projects, because the

 3     financing is not in place.    There's one that was paid,

 4     two or three weeks ago, that was not authorized.

 5     There's a project that he's got a piece of land on

 6     the -- let me rephrase "he". Urbin Miami Beach -- now

 7     there's an Urbin Miami Beach Two.    There's a piece of

 8     land, on the contract, that he did not close on time

 9     on.    The seller said, you've got to give me a $500,000

10     extension fee, and 350, at the end of the month, which

11     is tomorrow, or today, possibly.    And Rishi sent

12     500,000, without anybody's permission.     Then, when I

13     saw him Friday, I specifically asked him.     I said, who

14     paid that 500,000 extension fee. He said, Location

15     Ventures.   And I said, why is Location Ventures paying

16     extension fees, for Urbin projects.    He said, well, it

17     was always intended to be a Location Ventures project.

18     I said, it's literally called Urbin Miami Beach Two.

19     And he didn't really have an answer. He's like, well,

20     there's another 350 due this Thursday. I'm like, you

21     can't pay this 350.   You have no authority to pay this

22     350.    And he just didn't say anything.   If I could

23     guess, he will pay 350.

24            Q    That's 350,000?

25            A    350,000, to the seller, for the extension,



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 1     for this to close, in November.    So, that's another

 2     example where LV money was used for non-LV project,

 3     which is Urbin project.   And, yes, LV owns a percentage

 4     of the Urbin, but, again, we multiple times told Rishi

 5     that Location Ventures is not a line of credit for

 6     Urbin. Urbin has its own investors.    Their projects are

 7     their problems.   Our projects are our problems.

 8     Especially in a situation that we're using now, with no

 9     real investment, no real capital, in the company.     You

10     can't be paying -- you can't decide to pay extensions

11     for -- he didn't really have an answer for that.

12          Q    And the budgets, both -- the budgets, like we

13     can use this one, as an example, for 2021, and then the

14     actual budgets, those have to be approved by the

15     members, of Location Ventures?

16          A    I don't know what the operating costs were.

17     It was members of the Board.    I know we, for 2022

18     budget, and 2021, it was shown to the Board, and I

19     believe it was approved by the Board.     But since then,

20     we haven't gotten any update that the budget moved,

21     changed, looks different, feels different, is

22     different.

23          Q    And you and your wife,                are Board

24     members of Location Ventures, correct?

25          A    We were.   We're not anymore.



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 1          Q    2021 and 2022, were you board members, for

 2     those years?

 3          A    Yes, most of 2021, after we made the

 4     investment, and 2022.

 5          Q    So, for those years, for 2021, 2022, you

 6     recall that you were presented with budgets that you

 7     had to approve?

 8          A    So, again, let me just clarify this.     The

 9     Board of Location Ventures is a Board by name only.      We

10     really did not -- like we voted once, I think, in the

11     year and a half that I was on the Board.    There was a

12     vote for the 2022 budget, which doesn't match the

13     reality, with no update back to the Board.    And I think

14     we voted once to proceed with one project, which was

15     1505 Ponce. That's it.    It wasn't -- we didn't have

16     regular Board meetings.    We didn't have procedures.    We

17     tried to fix it.   We told him, you've got to keep Board

18     minutes. You've got to -- we want to be very clear what

19     has to be shown to the Board, what you can decide on

20     your own. All of that direction was ignored.

21          Q    So, there was never regular monthly or

22     quarterly Board meetings.    And the time you mentioned

23     in which you were asked, as a Board member, you and the

24     other Board members, to approve the 2022 budget, was

25     that done at an actual meeting or was that more



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 1     informally done via e-mail, this is for your

 2     approval --

 3                MR. SHOHAT:    Excuse me.   That's multiple --

 4     it seems to me that's multiple questions.      You started

 5     off, there was never any regular Board meetings.      Was

 6     that one question?

 7                MR. CORTEZ:    I think you -- yeah, there was

 8     never any regular Board meetings?

 9                THE WITNESS:   Yes.

10                BY MR. CORTEZ:

11          Q     Was there a meeting to approve the 2022

12     budget, that you recall?

13          A     There was a -- yes, late 2021, I would think.

14          Q     Was that meeting held in person?

15          A     No.

16          Q     Was it a zoom or teams meeting?

17          A     Yes.

18          Q     Teams meeting?

19          A     Sorry, yes.

20          Q     So, just walk us through that meeting, from

21     what you recall.

22          A     He showed us the budget, from the upcoming

23     year and -- bless you.    He showed us the budget for

24     upcoming year and -- I guess he said, do we have a

25     consent.   We said yes, and that was the meeting, more



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 1     or less.

 2          Q     Do you recall, did anyone, at that meeting,

 3     have any questions about the budget or specific, you

 4     know, numbers on the budget?

 5          A     I don't recall anybody making a big enough

 6     questioning of the budget, for me to have a

 7     recollection of it, so I don't recall that.

 8          Q     And, then, later, in 2022, you and other

 9     Board members, did you receive the actual budget, for

10     2022?

11          A     No.

12          Q     I think you mentioned that the numbers

13     changed dramatically from what was -- from what you and

14     the other Board members approved; is that correct?

15          A     We received financials, but not a budget.

16     So, the budget is a projection for the future, right?

17     And, then, we would get quarterly financials -- we

18     would get quarterly financials, but not as Board

19     members.   It was really provided to those who asked for

20     it, I would say.

21          Q     Okay.   Thank you, for that.   Sorry.   I was

22     somewhat confused.

23          A     Yeah.

24          Q     So, this was the budget, and then,

25     subsequently, you get quarterly financial statements?



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 1            A   On request.

 2            Q   Upon request. And those quarterly financial

 3     statements, that you received, showed numbers that were

 4     very different than what was on the 2022 budget, that

 5     the Board approved; is that correct?

 6            A   The ones later in the year, yes.   Early in

 7     the year, it's still too early to really spot a big

 8     enough difference.

 9            Q   Right.   And those changes, with respect to

10     payroll and raises, some of the items that you

11     mentioned, was it your understanding that those changes

12     needed to be approved by the Board, for Location

13     Ventures to implement or change from the budget?

14            A   I'm not sure.   They were never presented to

15     us, so I'm not sure if that was our responsibility or

16     not.

17            Q   Once you found that the numbers were

18     different than what was presented to you, in the 2022

19     budget, did you have any conversations, in 2022, with

20     Rishi, about it?

21            A   Specifically, about the budget?

22            Q   Or about --

23            A   Or just the difference in the budget?

24            Q   The difference in the actual numbers shown,

25     on the financial statements, compared to what was shown



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 1     to you, in the 2022 budget?

 2          A    It was in a context -- it was the last

 3     conversation I had with Rishi, when we said we're done,

 4     and we want to get bought out, at that meeting, that

 5     breakfast, I showed him a budget.    And I said, show me,

 6     in the budget, where it shows Rishi Kapoor and Daniel

 7     getting money. So, that was the conversation, but we

 8     never had like a -- this is a budget.    This is the

 9     actual budget, because we were never shown -- there was

10     never really a consideration.    It was never even shown.

11     And the financial were always extremely delayed and not

12     systematically shared.   It was really like, hey, can

13     you send me Q-whatever financials, and six weeks later,

14     we would possibly get it.

15          Q    And during, say, 2022, you did request

16     financial statements and you received them weeks after

17     you requested them; is that your testimony?

18          A    So, on occasion, we requested the statements

19     and we received -- some we received soon, and some --

20     like, for example, I'm still waiting for Q1 financials,

21     for this year, that I requested.

22          Q    And how long ago did you request those?

23          A    A month ago.

24          Q    Okay.   And do you know, like the financial

25     statements, are those put together inhouse, by the



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 1     employees of Location Ventures, or do you know if

 2     there's some outside auditing or accounting firm that

 3     works with them, to put together those statements?

 4          A    As far as I know, it's all put -- it used to

 5     be put together by, I guess, DJ Mogha, when he was the

 6     CFO. And, then, eventually, by Greg Brooks, who became

 7     the new CFO.

 8          Q    And are you aware of -- besides you and your

 9     wife, as investors, are there other investors, in

10     Location Ventures, that you're aware of, that have

11     become aware of the differences in, let's say in 2022,

12     from the numbers in the budget, compared to the actual

13     financial statements?

14          A    I'm not aware of investors specifically

15     questioning budgets.    Right?   But I am aware of an

16     e-mail, from Scott Robbins' attorney -- I assume it's

17     not privileged because it went to me.

18               MR. SHOHAT:    If it's from his attorney, yeah.

19               THE WITNESS:   But it went to every

20     shareholder, in the company.

21               MR. SHOHAT:    Then, it would not be

22     privileged.

23               THE WITNESS:   It would or would not?

24               MR. SHOHAT:    Would not.

25               THE WITNESS:   Okay.    So, in that e-mail,



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 1     Rishi -- so, basically -- based on the e-mail with

 2     Scott, and Scott said that after we bought it -- we put

 3     an agreement in place, to part ways with Location

 4     Ventures, and Rishi, specifically. He met with Scott

 5     and Tom, the other two shareholders, in the company.

 6                BY MR. CORTEZ:

 7          Q     Thomas --

 8          A     Thomas Barington.   And he told him that he

 9     took over $4 million -- around $4 million out of the

10     company, over the last couple of years.    And when they

11     said, how do you -- like how and why.    He said, well,

12     I'm entitled because, again, the logic I gave.     There's

13     a commission for this.   There's a fee for that.    Which,

14     again, it's not spelled out, in any of the agreements.

15     We've always been doing it this way. And they said,

16     well, if you have 4 million -- if LV has 4 million to

17     pay out, that's technically profit, we're entitled to a

18     share of that profit.    So, we want our share of that 4

19     million.   And Rishi said, I disagree with you.    This is

20     my money and you're not entitled to it.    They said,

21     well, in that case, we also -- we don't want anything

22     to do with you.   We want to also part ways.   And they

23     were negotiating some kind of a buyout. It fell apart.

24     And, then, Rishi sent us, all the shareholders, an

25     e-mail, that he was being bullied by Scott and Tom.



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 1     They wanted 4X on their investment. They wanted him to

 2     pledge his house.    His wife was crying and he's not

 3     going to do that. And, then, Scott's lawyer sent us --

 4     sent a notice to, I guess, Rishi, and copied all the

 5     shareholders, including us, that they basically intend

 6     to pursue legal their options and such. So, based on

 7     that situation, I'm aware that Rishi told Scott and Tom

 8     that he took at least $4 million out of the company,

 9     but he felt entitled to do so, and as far as I

10     understand, they disagreed.

11                 MR. WEINSTEIN:    I just e-mailed that to you.

12                 MR. CORTEZ:    Thank you.

13                 MR. O'BRIEN:   Do you mind if I ask a couple

14     of questions?

15                 BY MR. O'BRIEN:

16          Q      Did the financial statements show transfers

17     from Location Ventures, to Rishi, in his individual

18     capacity?

19          A      I don't believe so, no.

20          Q      You said you learned of the transfers,

21     though. When did you first learn of the transfers?

22          A      So, we insisted that as the company is

23     growing and maturing, and there's a lot of this

24     sloppiness going on, that we need a different CFO, for

25     the company.    So, we insisted that Rishi replace DJ.



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 1     Again, when I say insisted, again, not formally

 2     insisted, but we basically told him that's what needs

 3     to happen.   So, he started interviewing CFOs and

 4     eventually brought in Greg Brooks, in maybe July-ish,

 5     of last year.   Our first meeting with Greg Brooks --

 6     so, to answer your question, Greg Brooks mentioned to

 7     us, sometime in maybe, October, that while he's still

 8     new on the job and he's trying to clean up the books,

 9     because the books are a complete mess.    It's not like

10     you look inside Quick Books and there's a clear

11     transaction, that he's trying to understand a lot of

12     these transactions and asking Rishi for the

13     documentation of these transactions.    Can you explain,

14     you know, this transfer, this transfer, that transfer?

15     And he mentioned some of these transfers as the

16     transfers he was trying to understand.    So, he --

17               MR. SHOHAT:    "He" being brooks?

18               THE WITNESS:    Yes.

19               BY MR. O'BRIEN:

20          Q    Did he mention them specifically to you or to

21     a group of people?

22          A    He mentioned it specifically to me and

23          Q    And, then, you also said, at some point, you

24     gained access to their financial records.     To the

25     extent it's not privileged, can you explain that



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 1     process?

 2                 MR. SHOHAT:    He can explain, generally --

 3                 THE WITNESS:   Yes.

 4                 MR. SHOHAT:    -- what happened, without

 5     telling you communications, with the attorney or the

 6     accountant.

 7                 MR. O'BRIEN:   Thank you.

 8                 THE WITNESS:   So, we reached out to our

 9     family attorney.    We explained that we want to

10     understand what --

11                 MR. SHOHAT:    Don't talk about what you told

12     your attorney.

13                 THE WITNESS:   Right.

14                 MR. SHOHAT:    Just say what resulted from it.

15                 THE WITNESS:   Right.   So, the attorney

16     engaged an accountant.     We requested access to all the

17     bank accounts.    Shared that with the accountant.     We

18     requested certain bank statements, access to Quick

19     Books.   Access to Sage, I believe was the new system

20     that they use.

21                 BY MR. O'BRIEN:

22          Q      And did you demand to inspect the books and

23     records, as a shareholder in the company, through the

24     attorney?

25                 MR. SHOHAT:    You can communicate whether you



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 1     communicated a demand to Rishi, to see the books and

 2     records of the company.

 3                 THE WITNESS:   Yes, I think it was me.   It

 4     wasn't our attorney, who reached out, I think it was

 5     me.

 6                 BY MR. O'BRIEN:

 7           Q     And around when was the time in which you

 8     received the information, or your attorney received the

 9     information, if you recall?

10                 MR. SHOHAT:    You can talk about the timing.

11                 THE WITNESS:   October, November, last year.

12                 MR. O'BRIEN:   Okay.   Thank you.

13                 BY MR. CORTEZ:

14           Q     Putting aside the amount of your investment

15     that has been redeemed or bought out, by Location

16     Ventures, have you received any distributions, since

17     you've invested in Location Ventures, from the company?

18           A     There was one distribution shortly after we

19     invested.    So, back in early or mid 2021, there was

20     a -- I believe it was just a piece of land, that they

21     had under contract, that they sold, and we received a

22     couple hundred thousand dollars.      Never -- nothing

23     else.

24           Q     And is there -- again, I understand that

25     you've asked to be bought out, but any expectation of



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 1     any future distributions, from Location Ventures?

 2          A    No.

 3          Q    And I guess when you made your initial

 4     investment, with Location Ventures, was there an

 5     approximate length of time that you thought your

 6     investment would be with Location Ventures?    In other

 7     words, were you looking to get out, at some point, in a

 8     few years, or were you just putting your money there,

 9     with no expectation of redeeming your investment until

10     the end of last year?

11          A    No expectation of redeeming that investment.

12          Q    Okay.   And, then, again, not -- I don't want

13     to ask anything that may be privileged, but have you

14     had any recent conversations, other than the one you

15     mentioned with Scott Robbins and his attorney, with any

16     of the other members or investors, at Location

17     Ventures, about the status of the company, the money

18     that has been pulled out of the company?

19          A    I had a conversation with Marty Halperin,

20     he's the Halperin Family Trust, last week.

21          Q    And can you just sort of walk us through that

22     conversation?

23          A    So, his lawyer was at the meeting.    I don't

24     know if that makes it privileged or not.

25               MR. SHOHAT:   It doesn't make it privileged.



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 1                THE WITNESS:   Okay.    And Steven was at the

 2     meeting.   But, anyway, the context of the conversation

 3     was --

 4                MR. SHOHAT:    Hold on a second.    Steven --

 5                THE WITNESS:   So, we had two meetings with --

 6     sorry, guys.   We had two meetings.

 7                MR. HOUCHIN:   Hold on, a second.

 8                MR. SHOHAT:    Go off the record.    Why don't we

 9     take a lunch break and pick up here after lunch?

10                MR. CORTEZ:    That's fine.   It's 12:53.   We

11     can discuss this, off the record, and take lunch. How

12     much time would you guys like?

13                (Whereupon, at 12:53 p.m., a luncheon recess

14     was taken.)

15                 A F T E R N O O N     S E S S I O N

16                          (SEC Exhibit No. 5 was marked for

17                          identification.)

18                MR. CORTEZ:    We're back on the record, 1:56

19     P.M.

20                Mr. Kleyner, during the break, did you have

21     any substantive discussions, with anyone from the

22     Commission staff?

23                THE WITNESS:   No.

24                MR. CORTEZ:    Okay.   I'm going to turn over

25     some questions to Mark Dee.



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 1                 BY MR. DEE:

 2            Q    Good afternoon, Mr. Kleyner.    My name is Mark

 3     Dee.    I'm a senior accountant, with the Securities and

 4     Exchange Commission.      I'm here to cover Exhibit Five

 5     with you. Would you take a look at Exhibit -- that's

 6     been previously marked as Exhibit Five and let me know

 7     if you recognize that document?

 8            A    Yes.

 9            Q    Let me just speak a little bit about it.

10     Exhibit 9 has bates number

11     FL-4347_Kleyner_LVLLC_004657. It also contains three

12     title headings of date, payor/payee, and amount.        There

13     are five transactions that do not have parentheses

14     around them and there's two transactions that do have

15     parentheses around them. The dates range in the month

16     of August, 2022, for all seven transactions.      The

17     amounts in flow total over 4.2 and going out, 1.468.

18     This is a yes or no question.     This document, or this

19     summary, you had created or had instructed someone to

20     create --

21                 MR. SHOHAT:    That would implicate an

22     attorney/client privileged communication, so I'm going

23     to ask him not to answer that question. Advise him not

24     to answer that question.

25                 MR. HOUCHIN:   For the record, it's Exhibit 5.



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 1               MR. SHOHAT:   Yeah, you said Exhibit 9, when

 2     you were reading it before.

 3               BY MR. DEE:

 4          Q    I've got Exhibit 9 on the brain.    I stand

 5     corrected.   It's Exhibit 5. This is a summary that you

 6     recognize?

 7          A    Yes.

 8          Q    And why do you recognize it?

 9          A    That was a summary that I gave to Rishi

10     Kapoor when we met, in early November, late October,

11     November somewhere in that time range, in 2022.

12          Q    And why did you give him this summary?

13          A    I wanted him to explain these transactions.

14          Q    And these transactions are in reference to

15     what account and what entity?

16          A    These transactions, as I understood them, are

17     money coming into Location Ventures.    That's the ones

18     without the parentheses, and the two coming out of

19     Location Ventures.

20          Q    And the monies coming into Location Ventures,

21     could you tell me the entities that are represented

22     there, that are the payees?

23          A    The one I'm familiar with, as an LP investor

24     is in, is the 1505 Ponce Partners, LLC.    The other one

25     is 800 Dixie Partners, LLC.   I'm not directly invested



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 1     in that entity.

 2          Q    There are two transactions with parentheses;

 3     do you recognize the names on -- for both of those?

 4          A    Yes.

 5          Q    And they are Rishi Kapoor and Daniel Mogha?

 6          A    Yes.

 7          Q    And you brought it to their attention

 8     because --

 9          A    Because we wanted to understand what is the

10     reason for these transactions.    What is the explanation

11     of these transactions.   What is the documentation for

12     these transactions and such.

13          Q    And the transaction to Mr. Kapoor exceeds 1.3

14     million; is that correct?

15          A    Yes.

16          Q    And the transaction to Mr. Mogha is 140,000;

17     is that correct?

18          A    Yes.

19          Q    Did you receive a satisfactory explanation of

20     these monies that were paid to Mr. Kapoor and Mr.

21     Mogha?

22          A    No.

23          Q    If you didn't receive -- what type of

24     communication did they respond to you, verbally,

25     e-mail, with an explanation, or unsatisfactory



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 1     explanation?   How did you find out that it was

 2     unsatisfactory?

 3          A    It was a combination of verbally and e-mail.

 4          Q    Do you still have those e-mails?

 5          A    I do.   We shared them.

 6               MR. SHOHAT:    I think you have them.

 7               THE WITNESS:   We shared them with you.

 8               MR. DEE:   Mr. Cortez, Houchin, and O'Brien,

 9     do you have any further questions?

10               MR. CORTEZ:    I have a couple questions.

11               BY MR. CORTEZ:

12          Q    The 1505 Ponce Partners, LLC, is that an

13     entity that you are a limited partner in?

14          A    Yes.

15          Q    And are you a limited partner, through an LLC

16     that you created, to invest in this?

17          A    Yes.

18          Q    And is 1505 Ponce Partners the sponsor for

19     the real estate development, at 1505 Ponce de Leon, in

20     Coral Gables, Florida?

21          A    How do you define sponsor?    This is the -- I

22     believe 1505 Ponce Partners is the joint venture that

23     my personal entity invested into, and my CL's entity

24     invested into, and Location Ventures entity invested.

25     So, I believe this is the JV Partnership entity.



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 1          Q     Okay.   Versus the sponsor, which is the

 2     entity that manages the development of that real estate

 3     project, correct?

 4          A     Correct.

 5          Q     Which is controlled by Kapoor and/or Location

 6     Ventures, correct?

 7          A     Yes.

 8          Q     Okay.   How did these transactions -- how did

 9     you become aware of these transactions that are listed

10     in this?

11                MR. SHOHAT:   Are you talking about initially

12     become aware, as opposed to any discussions he had with

13     his attorney?

14                BY MR. CORTEZ:

15          Q     Correct.   How did you initially become aware

16     of these transactions listed in Exhibit 5?

17          A     So, Greg Brooks is the one who said that he

18     was looking into transactions that he was trying to

19     make sense of.     And these were some of the transactions

20     that he mentioned to us.    So, in parallel, we decided

21     to engage our lawyer, to try to make sense of these

22     transactions, as well.

23          Q     I know you're not invested in 800 Dixie

24     Partners, LLC, but do you have a general understanding

25     of what that LLC is?



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 1          A    So, my general understanding, but again it's

 2     not a -- we didn't get to the bottom of this, but this

 3     is as I understand what happened here, it was an entity

 4     that Rishi and DJ owned or controlled, before Location

 5     Ventures was formed.   Then, they contributed that

 6     either entity or assets of that entity, into Location

 7     Ventures, and that was part of their 13 million equity.

 8     Then, there was a sale of 800 Dixie project, and there

 9     was some confusion -- there was some -- I don't have

10     clarity whether there was any profit made or not, but

11     as I understand, in Rishi's mind, there was profit made

12     and he paid himself his share of the profit, without

13     paying out the rest of us, as shareholders of Location

14     Ventures, any share of the profit.    But there was

15     confusion because, again, we didn't get to the bottom,

16     so this was kind of a little fuzzy, but when they

17     contributed this entity, to Location Ventures, they

18     didn't contribute it to par.    They marked it up to some

19     kind of a value that they thought was appropriate.     But

20     when they sold it, at or below that value, there was

21     some confusion how they're going to treat it from

22     accounting standpoint, on the balance sheet, and how

23     are they going to recognize the return of equity.     How

24     are they going to recognize if there was any profits

25     made or not made.   But as we suspect, while this was



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 1     all being discussed and sorted out, Rishi paid himself

 2     out his portion of whatever profit he perceived existed

 3     in the project.

 4          Q    And the project being the project that was,

 5     for lack of a better word, owned or oversaw by the 800

 6     Dixie Partners, LLC?

 7          A    I assume -- I'm not familiar -- I've never

 8     even seen -- I've never been to 800 Dixie address.     I'm

 9     not familiar with this particular project, at all, but

10     as I understand, yes.

11          Q    But you're aware there was some sale of some

12     property, at this address?

13          A    Yes.

14          Q    And that the money from the sale, or the

15     profits from the sale, it's your understanding should

16     have been distributed amongst other investors, in

17     Location Ventures, or in 800 Dixie?

18          A    Combination of both.    First would be to the

19     investors in 800 Dixie, same kind of going back to

20     waterfall.   First, the LPs, in a specific project are

21     paid, then the sponsor gets their share. So, my

22     understanding is there should have been distribution to

23     the partners, inside 800 Dixie project, and then any

24     money left over should have gone to LV, to either be

25     used for LV needs, be it operational needs or



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 1     distribution, to partners, of profits.

 2          Q    And why was it after the partners, at 800

 3     Dixie, got paid whatever they got paid, the remaining

 4     profits, why did that -- why were those supposed to go

 5     to Location Ventures?    Was that because Location

 6     Ventures was an investor in this, as well?

 7          A    As I understand that this particular project

 8     was part of the equity contribution, by Rishi and DJ,

 9     into Location Ventures.    So, therefore, at exit, it

10     should have been a return.    It become, basically,

11     property of Location Ventures.    So, at exit, it should

12     have been returned.   The proceeds now belong to

13     Location Ventures, who was the owner of this project.

14          Q    So, looking at the five transactions of

15     monies, I guess, going from 800 Dixie Partners and then

16     1505 Ponce Partners, into Location Ventures, what

17     explanation did you receive about these five

18     transactions?

19          A    I didn't get any explanation on Dixie

20     Partners. I got a - I have to look into it and get back

21     to you. On 1505, I got explanation for some.    I was

22     told that --

23               MR. SHOHAT:    These aren't coming from your

24     lawyer, right?   It's coming from Rishi.

25               THE WITNESS:    It's from Rishi.



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 1                So, I believe the 640,000 was a two percent

 2     length closing fee.   So, it's a 32 million piece of

 3     land.    And the sponsor was entitled to two percent

 4     closing fee.   I asked him, why did you collect a

 5     closing fee, we didn't close on the land.     The land

 6     wasn't closed until, I believe, late November.     So, I

 7     said, how do you collect a closing fee.     And the

 8     response was the closing was eminent, so I took the

 9     money, figuring the close was only a couple days away.

10     Then, the closing got delayed.     And I never put the --

11     and we said, why didn't you put the money back.       I

12     didn't get a satisfactory response for that.

13                So, his response was either this was a timing

14     issue, but these fees were inevitable, anyway, which,

15     again, I didn't find satisfactory, and for some of

16     these, I didn't really even get a response.     Like the

17     two percent, I understand, the 640.     The 300,000, I

18     wasn't sure what those are for.     180, I wasn't sure

19     what those were for. I never got a response that kind

20     of put me at peace.

21                BY MR. O'BRIEN:

22          Q     Real quickly.    When you say you didn't get a

23     satisfactory response, it's important to know, though,

24     what the response was.     So, if there are times in which

25     he provided you with some type of justification, or



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 1     information, that you could please share with us, that

 2     would be helpful.

 3          A     Yeah.   So, for some of them, he said it was

 4     just the two percent is for the land closing, even

 5     though the land didn't close months later.     So, this is

 6     definitely contradictory to the operating agreement.

 7     300,000, I'm not sure.    And it was -- basically, I have

 8     to look into it and get back to you.    9

 9          Q     With the loan that he didn't pay back -- or,

10     I'm sorry, the closing that he didn't pay back because

11     the closing was delayed, and you asked him why he

12     didn't return the funds, what was his response?

13          A     So, he took the fee, before the closing took

14     place, even though I'm not confident the closing was

15     scheduled sometime around this date.    That's number

16     one. Number two, this fee was after the closing takes

17     place, anyway.     So, if he took it two days earlier, the

18     operating agreement for this project never called for

19     that.    And the response was the closing was eminent.

20     It got delayed.    It got slightly delayed.   It got

21     slightly delayed.    So, that was the response.

22          Q     Okay.   Thank you.

23                BY MR. CORTEZ:

24          Q     And I think you had mentioned this, to Mark's

25     question. The questions and the responses that Rishi



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 1     provided were both in e-mail and verbally, like over

 2     the phone or in person?

 3          A    Yeah, it was a combination of the -- when we

 4     confronted him, with this piece of paper, he gave us

 5     some answers, the ones that I just gave you.

 6          Q    That was in person?

 7          A    That was in person.

 8          Q    Okay.

 9          A    I asked him about this 1.3.    He said, I don't

10     remember what this is for.    And I said, Rishi, how

11     often do you take a wire, for 1.3 million, that you

12     can't remember what it's for.    It's not something that

13     happens to you every couple weeks.    Then, I stopped

14     myself, I said, is it something that happens to you

15     every couple of weeks.    So, I didn't get a response, an

16     explanation, at that time, when I confronted him for

17     the 1.3, and what is the, you know, justification, or

18     kind of combination of that. He then sent us a spread

19     sheet, that I believe we shared.    I'm sure we shared

20     with you guys, where he has a list of all these

21     projects and all the fees that he felt entitled to one

22     percent, for this, two percent, for that.    And I think

23     that he was showing that he was owed, by the business,

24     millions of dollars more.    And when we confronted him,

25     again, like Rishi, where does it say that you're owed



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 1     the commissions, that you're the CO? You're not a

 2     broker.   Like what you're describing is broker fees.

 3     You're not a broker, you're a CO.    This is what you're

 4     getting paid to do.   His response was, how do you

 5     expect me to live for less than two, two and a half

 6     million dollars a year, which I was found -- I was

 7     stunned by that statement.   And I said, Rishi, what

 8     have you accomplished in your life that justify making

 9     two, two and a half million dollars a year?    You

10     haven't built a business that generated profits or

11     returns, for your investors, so how to you justify

12     making -- how do you justify having your lifestyle for

13     two, two and a half million dollars a year, when the

14     operating agreement says 400,000?    And he kind of

15     didn't really have an answer for that. He then sent us

16     a separate e-mail, talking about how he lives a humble

17     lifestyle, and the McLaren is leased.    The boat is

18     financed, and -- but I mean, respectfully, that was

19     nonsense.   Right? So, we never got a type of response,

20     again, to my original point, satisfactory, that I felt

21     like, okay, I get it.   Okay, fine, this was based on

22     this operating agreement or this was based on this

23     promissory note, or some kind of commission.

24          Q      And you -- I know you initially mentioned in

25     person showed him this exhibit, the summary, which is



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 1     Exhibit Five, which has been marked as Exhibit Five, in

 2     person, to Rishi.

 3            A   Uh-huh.

 4            Q   Did you subsequently get any other e-mail

 5     communications, after that initial in-person meeting,

 6     from Rishi, trying to provide any information or, you

 7     know, explanation, if you will, about these

 8     transactions?

 9            A   I got bits and pieces.   There wasn't one

10     formal e-mail that says, okay, let me walk you through

11     each one of these transactions and explain.    And there

12     was a lot of back and forth, where we said, Rishi, stop

13     insulting our intelligence, like just, you know, stop

14     the dance, like what's going on here?    What are these

15     transactions? And we got some bits and pieces, in

16     e-mails.   We got the spread sheet that showed all the

17     fees that he's owed from all the different projects.

18     We then set up a follow-up meeting, in the office,

19     where we told him, hey, we have -- before that meeting,

20     we basically told him we have three ways this can play

21     out.    We can fix it, together, right, understand --

22     first, we need to understand what is going on and see

23     if we can fix it. We can part ways, or a nuclear

24     option, as we call it, basically, like we call it the

25     legal options, and so on. And he said, I understand.      I



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 1     want to fix it.      I love working with you guys.     I love

 2     you guys, all that -- you know, all that good stuff.

 3     So, we told him, okay, so you need to come up with a

 4     list of everything you think we would perceive - forget

 5     about if you think it's right or wrong - if you think

 6     we'll think we could perceive it as not right, you

 7     know.      Can you do that?    Of course.   Can do you that in

 8     a week?      And we never truly got it.     We got bits and

 9     pieces, a little bit of this, a little bit of that.

10     So, we had a follow-up meeting with him, in his office,

11     where we were like, again, if you want to work this out

12     with us, you need to really tell us everything that's

13     going on, in the company, that needs to be considered

14     for repairs, right, for reversals, right, because --

15     and we didn't really get the responses we were looking

16     for.

17            Q      In the in-person meetings, that you've been

18     referencing, who was present?

19            A

20            Q      So, it was your wife and Mr. Kapoor and

21     yourself?

22            A      Uh-huh.

23            Q      No one else?

24                   MR. SHOHAT:    Say yes or no.   You said uh-huh.

25                   THE WITNESS:    Ah, yes.   Yes, to the previous



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 1     question, and no one else.

 2               BY MR. HOUCHIN:

 3          Q    Did you ever have any communications, about

 4     these transactions, with Greg Brooks?

 5          A    Yes.

 6          Q    We may get into those.    If not, I'll circle

 7     back to it.

 8               BY MR. CORTEZ:

 9          Q    And just to confirm, I think you may have

10     confirmed this with your attorney, as you said, some of

11     the information that was provided, via e-mail, have you

12     produced through your attorneys --

13          A    Yes.

14          Q    -- those e-mails to us?

15               MR. SHOHAT:   We produced them, or no, we're

16     still going through them.

17               MR. WEINSTEIN:    So, to the extent that the

18     e-mails are from Rishi, to Alex or          and there's

19     not an attorney involved, that was part of a legal

20     team, we've given you those already. They would have

21     come in, perhaps, number three, the end of number two,

22     or number three.   There are also text message

23     communications that contain some of this information,

24     that are absolutely in number three and number four.

25     And, then, to the extent that there are privileged



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 1     communications, we don't have it, but documents that

 2     are outside of the privilege, that were provided to

 3     third parties, you have.

 4                THE WITNESS:   And the timing of his e-mail,

 5     to us, would be, I would say, between late October --

 6     this meeting, it would be between late October and end

 7     of November.    So, sometime in --

 8                MR. WEINSTEIN:   The bottom line is we don't

 9     have them yet.   You will get them, as we continue to go

10     through them.    Just because we're going to finish

11     today, doesn't mean that we're not going to keep giving

12     you the information requested.

13                MR. CORTEZ:    Okay.   I appreciate it.

14                BY MR. CORTEZ:

15          Q     And, then, sort of, kind of a similar

16     question, but following, too, our discussion right

17     before we broke for lunch, we were talking about the

18     budget and the financial statements, and we were

19     focused on the year, 2022, and I think, you know, you

20     had requested some financial statements.      Some you got

21     early, you know, at a reasonable time.      Others were

22     delayed.   And there was some communications you were

23     talking about, that you had with Rishi, concerning

24     that, the budgets and the financial statements, and

25     including the money lent to Urbin, LLC.      Were those



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 1     communications -- I just want to be clear -- both in

 2     person and through e-mail?

 3          A     Probably, yes.

 4          Q     So, similar question is, to the extent there

 5     were e-mail communications, about those topics that we

 6     discussed before lunch, assuming those are not

 7     privileged, those are also going to be produced, if not

 8     already produced?

 9                MR. SHOHAT:   Yes.

10                MR. CORTEZ:   Okay.

11                MR. SHOHAT:   I think you have quite a number

12     of them.

13                MR. CORTEZ:   Okay.

14                Do you guys have any other questions?

15                Okay.   We can move on.

16                BY MR. HOUCHIN:

17          Q     Before we go on, with respect to the

18     communications that you had with Greg Brooks, about the

19     transactions in Exhibit Five, can you give us your best

20     recollection as to the substance of those

21     communications?

22          A     Sure.   So, he said he just started on the

23     job, couple months.   He's trying to wrap his head

24     around what's going on with the company, because the

25     books are not up to date, not accurate.    The accounting



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 1     is not gap.   There's things that he's still trying to

 2     understand. He highlighted a couple of these

 3     transactions, almost asking us, do you know what these

 4     are.    And we were like, no.   So, he -- he was trying to

 5     understand them and, you know, as he started mentioning

 6     a couple of these transactions, we were trying to

 7     understand them kind of independently of Greg Brooks.

 8            Q   Okay.   Without getting into any discussions

 9     you had with your lawyers or accountants, regarding

10     these transactions, do you recall which transactions,

11     on Exhibit Five, Mr. Brooks highlighted?

12            A   I don't remember exactly which, but I would

13     say between most and all.    So, enough of these, he was

14     also trying to understand and figure out.

15            Q   As you sit here, today, do you have any

16     understanding as to whether Mr. Brooks was ever able to

17     come to an understanding, as to the background of the

18     transactions that are reflected in Exhibit Five?

19                MR. SHOHAT:    Other than what you may have

20     been told by attorneys, did he ever tell you that he

21     came to an understanding?

22                THE WITNESS:   No.

23                MR. HOUCHIN:   Okay.   Thank you.

24                MR. O'BRIEN:   I'm going to be stepping out,

25     at 2:30.   I have another meeting.    But I just wanted to



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 1     say to everybody, thank you, very much, for your time,

 2     and I'm sure we'll be in touch.

 3               MR. SHOHAT:   Okay.

 4               BY MR. CORTEZ:

 5          Q    I'll follow up with one question that John

 6     asked, not asking about any communications that you've

 7     had with your attorneys, but sitting here, today, do

 8     you have any further understanding about these

 9     transactions and what the purpose of the transactions

10     may have been?

11          A    No.    No, we have not identified any -- we

12     don't have any new information that like, okay, it

13     makes sense why this happened.    So, no, I don't have

14     any new insight, to justify any of these transactions.

15          Q    We mentioned the sponsors of the various real

16     estate projects and I just want to ask you a couple

17     questions.

18          A    Sure.

19          Q    What was your understanding of potential

20     investment opportunities, in the sponsors of the

21     various real estate projects?

22          A    So -- okay.   So, the sponsor of every project

23     ultimately flowed up to Location Ventures.    All right?

24     So, they might have had entities that were the

25     sponsors, but a hundred percent of those were Location



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 1     Ventures own entities.    So, every project should have

 2     came back to Location Ventures' balance sheet.     Right?

 3     There was a conversation about starting a fund that

 4     would raise outside money, which the purpose of the

 5     fund would be to co-invest into the sponsor piece, the

 6     GP piece.    The idea was you raise outside money.   The

 7     fund would own -- would put up 75 percent of the GP

 8     stake.   LV puts up 25 percent of GP stake.   And, then,

 9     again, on the waterfall we discussed, in the past,

10     whatever the waterfall down to the GP would get split

11     50/50.   So, basically, an LV would make an extra

12     promote on the funds -- fund.    Sorry, the money that

13     came from the fund. That was just a conversation that

14     never actualized.     There was never any capital raised.

15     There was never any investments made.    It was just a

16     concept that was discussed, but that never really took

17     any kind of life.

18          Q      So, from your understanding, again, sitting

19     here today, there are investors, at Location Ventures'

20     level --

21          A      Uh-huh.

22          Q      -- then there's investors at the project

23     level, depending on what project we're discussing?

24          A      Yes.

25          Q      But there's no investments, at the sponsor



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 1     level. There's no investors added with any of the

 2     sponsors, for any of the projects, from your

 3     understanding?

 4          A     From my understanding, correct.   All the

 5     sponsors should be LV capital and LV, you know, would

 6     flow up to Location Ventures.

 7                (Mr. O'Brien exited the proceedings.)

 8                BY MR. CORTEZ:

 9          Q     So, any of the sponsors profits would flow up

10     to Location Ventures, which then -- is it your

11     understanding that directly would then perhaps be

12     shared amongst the investors, at Location Ventures?

13          A     Well, that's the expectation.   That's what I

14     invested into, yes.

15          Q     Okay.   Was it generally the case that for

16     each real estate project, Location Ventures would set

17     up a separate sponsor entity, for that specific

18     project?

19          A     I mean, I wasn't close enough, operationally,

20     to really understand all the legal structures of that,

21     but my understanding is yes, there's Location Ventures,

22     the development company.    Then, there's, I think,

23     Location Ventures, maybe, capital, that pays payroll.

24     Then, there's -- each project has its own set of

25     entities, with specific purposes.    But, ultimately, all



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 1     that sits on the Location Ventures kind of umbrella

 2     balance sheet.

 3          Q      And you mentioned that for the projects,

 4     there's the joint venture entity that, I guess, owned

 5     the piece of real estate, that the project was being

 6     developed; is that correct?

 7          A      Yes.

 8          Q      Again, you may have mentioned this, but just

 9     so the record is clear, what was the role, or the

10     purported role of the sponsors, for each of the

11     projects?    Like what was the sponsors role in that?

12          A      The sponsors role is to execute the project,

13     which means line up all the pieces, the land, the

14     approvals, the design, picking a sales team, selling of

15     the units, developing of the actual, you know,

16     projects, handling all the day-to-day, payroll, vendor

17     bills, etcetera, etcetera.    And there were two, I

18     guess, main fees.   One is a development fee.   So,

19     monthly basis, either the sponsor entity or sponsor

20     affiliated entity charge the project a development fee,

21     which was typically some kind of percentage, of either

22     hard cost or total cost, on a monthly basis.    And the

23     second was the profit sharing, kind of trickling down

24     to the sponsor, after, again, the bank is paid off,

25     vendors are paid off, LP is paid, and then whatever is



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 1     left for the sponsor.    And, then, in some operating

 2     agreements, there were additional fees, like land

 3     acquisition fee, two percent, things of that nature.

 4     But -- so that was the sponsor, again, depends which

 5     entity you label as the sponsor, but like LV controlled

 6     entities were entitled to profit share, development

 7     fees, and any other fees disclosed in the operating

 8     agreement, such as land acquisition fee, marketing fee,

 9     things of that nature.

10          Q    So, if the sponsor was charged the project

11     fees and that money was supposed to be paid, if it

12     wasn't, to the sponsor; was that the understanding?

13          A    Yes.

14          Q    And, then, whatever profits the sponsor

15     generated, assuming they had some cost and expenses for

16     operating, that would then -- would the expectation was

17     that would then flow up to the Location Ventures

18     entity, for which you were and others are members of?

19          A    Yes.

20          Q    Okay.   We have talked, somewhat at length,

21     about your investment in 551 Bayshore.    We touched upon

22     your investment in 1505 Ponce.    Are there any other

23     projects that you invested in?

24          A    There was one more, called Redlands.

25          Q    What is Redlands; what is that?



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 1          A      So, it's a project in -- I guess it's west of

 2     Miami.   I think there is called Redlands.      I think

 3     that's why it's called Redlands.

 4                 MR. SHOHAT:    Southwest.   Deep southwest.

 5                 THE WITNESS:   Right.    So, the Rishi vision

 6     was to -- there was a bunch of acreage he had under

 7     contract.    His vision was to -- the way he described it

 8     was develop it into a mix of Hamptons meets Wellington,

 9     so kind of horse farms, for wealthy people.       And the --

10     again, I'm -- personally, I wasn't sure.       I saw the --

11     we saw the challenges in execution, because there was

12     nothing there now.    So, it's not like, you know,

13     there's luxury horse farms and you're building one next

14     to it.   There was just nothing of that sort there.

15                 But what he -- the investment we made was, it

16     was called Redlands Phase One, that basically as he

17     explained us, the investment is -- let's say you get on

18     the contract for a piece of land for -- I'm going to

19     use a random number.      I don't remember the number.

20     Let's say $10 million, right?       Today, this land is only

21     worth $10 million.    You now need, let's say, a million

22     dollars to go through the design, go through approvals,

23     and get, let's say, shovel ready, right?       Once it's

24     shovel ready, you have to go out and find the capital,

25     again, the bank, LPs, GP, and so on.       But what he was



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 1     saying is if the phase -- that from the point where you

 2     just got a piece of land, 10 million, and just dirt, to

 3     a point where it's now shovel ready, there should be

 4     some appreciation because now you created a bankable

 5     project, versus just a piece of dirt.

 6                So, the logic was that we invest -- I think

 7     it was $3 million range, to help get this project up to

 8     that point, where it's shovel ready.    Once it's shovel

 9     ready, and he goes out to find the financing, there's

10     enough mark-up, to the value of the land, that as he

11     puts that permanent capital in, there's enough money to

12     repay us the investment we made, to just get it to what

13     we call phase one, right, get it shovel ready and some

14     return.

15                So, we wanted to try that concept with one

16     project.   So, we tried it with Redlands.   And, then,

17     when we decided to part ways, we got bought out of

18     that, by LV, I guess, and whoever he -- I don't know.

19                BY MR. CORTEZ:

20          Q     So, the expectation -- your expectation was

21     you provide 3 million, just to take it from the land,

22     or the dirt, essentially, to get it shovel ready.     But

23     once it gets shovel ready, then you get out, before

24     they even start really constructing --

25          A     Correct.



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 1          Q    -- constructing the project?

 2          A    Correct.

 3          Q    Okay.   But you got your money out, before

 4     that shovel ready time frame took place, for lack of a

 5     better word?

 6          A    You're asking me if we got the money out?

 7          Q    Yes.

 8          A    Yes, we got the money out for -- one, the

 9     project kept getting delayed and there was nothing

10     eminent to make it shovel ready.    And, two, when we

11     made a decision to part ways, with Rishi, this was part

12     of our global buy-out agreement, you know, we just

13     wanted to be done with Rishi.

14          Q    So, was 551 Bayshore, 1505 Ponce, and

15     Redlands Phase One, were those the only projects that

16     you and your wife, through your trust, invested in?

17          A    So, just to clarify, their trust invested

18     into the equity inside Location Ventures.    The

19     investments into the three projects you described were

20     not made by their trust.   They were a combination of

21     some were personal, some were our family -- DALL family

22     trust, just to clarify that point.

23          Q    Thank you.

24          A    But as far as your question on the three

25     projects, yes, these were the only three projects that



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  1    we had with Location Ventures, that we directly

  2    invested into a project.

  3          Q     And with respect to 551 Bayshore and 1505

  4    Ponce, were those investments structured in similar

  5    ways?     I know you talked about this morning, the

  6    investment into 551 Bayshore, I just want to understand

  7    if 1505 Ponce was set up similarly?

  8          A     1505 Ponce was set up just like 551 Bayshore,

  9    not like the Redlands.

 10          Q     Redlands was different than --

 11          A     Redlands was different --

 12          Q     -- the other two?

 13          A     Correct.

 14          Q     Okay.   And besides these three projects, did

 15    Rishi Kapoor or Location Ventures present you with

 16    other projects that you may have had an opportunity to

 17    invest in?

 18          A     Yes.

 19          Q     What were those?

 20          A     There was an island, in Bahamas, called South

 21    Cat Key, that he was negotiating, trying to get a deal

 22    done, get a line on a contract.     There was a project in

 23    Montana.    We said no to both.   Well, we said no to

 24    Montana and Bahamas.    We said we're interested because,

 25    again, it's in our back yard, and it looked



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  1    interesting, but that project never went anywhere.       I

  2    don't believe there were others that were any kind of

  3    serious consideration for us.

  4          Q    I know you mentioned, initially, the Urbin,

  5    but we spoke about that this morning, and you said no

  6    to that, initially, immediately?

  7          A    Yeah, he knew Urbin, for us, was a

  8    non-starter. We didn't buy into the concept of the

  9    business plan.

 10               MR. SHOHAT:    Give me a second.

 11               THE WITNESS:   So, I can address that.   There

 12    was talk about a project, in Hawaii.     We were never

 13    asked to invest in that particular project.

 14               BY MR. CORTEZ:

 15          Q    Okay.

 16          A    But that was actually strike two, for Rishi,

 17    the project in Hawaii.

 18          Q    Why was that strike two?

 19          A    Because he was very passionate about Hawaii,

 20    very passionate.   He talked about it all the time.      I

 21    hadn't been to Hawaii, at that time, so he described it

 22    as this gorgeous place.     And he spent a lot of time in

 23    Hawaii. And, then, he came back and he said he found a

 24    bunch of projects, in Hawaii.     And we told him that we

 25    don't think it's a good idea for the company to do the



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  1    project so far away.    We haven't completed anything

  2    locally, to start doing things halfway around the

  3    world.   He said he put something on the contract, but

  4    it was a refundable deposit.    We told him we think it's

  5    kind of a bad idea, but if it's refundable, I guess,

  6    and he wants some time to present it.     It was never

  7    presented to the Board or any of the investors, to

  8    consider.   And, then, we were on a ski trip and got a

  9    text message from him that, guys, don't be mad, but I

 10    went hard on Hawaii, but if it -- you know, if nobody

 11    wants that project, I'll cover that.     I think it was

 12    like a million dollars or something.     And I was

 13    outraged.   And I'm like we have protocols -- we're

 14    supposed to have protocols, I should say.     We never

 15    actually had them, unfortunately.    But we're supposed

 16    to have protocols where you can't just get into

 17    projects.   And even though he said, you know, he'll

 18    refund -- he'll eat that million dollars, at that time,

 19    I assume he's living $400,000 a year.     A million

 20    dollars is a lot of money.    So, I was really, really

 21    upset.   And when we got back, he begged us, can you

 22    please at least hear out the project and talk to some

 23    local people, on the ground, local developers.       We said

 24    no problem. We spoke to the local -- on zoom, we spoke

 25    local developers.   We got off the call and the very



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  1    first call we made to Rishi, we said we want our money

  2    and we're done with you.    Because we have no interest

  3    in this project.   This is not what we signed up for.

  4    If you want to do Hawaii, that's fine.     This is not

  5    what we signed up for, when we invested into this

  6    company.   If you want to do Hawaii, go ahead.    Give us

  7    our money back.    We're out.

  8          Q    Is this in 2022?

  9          A    This was in -- so, let me think.    So,

 10    skiing -- this was early 2022.    Because we were skiing

 11    in December, January, of '21 or '22.     So, this would

 12    have been early 2022.

 13          Q    It was your understanding that million

 14    dollar, which I guess you said refundable deposit was

 15    money was taken out of -- was it money taken out of

 16    Location Ventures?

 17               MR. HOUCHIN:   And not talking about anything

 18    that you may have learned from your attorneys or

 19    accountants, looking at, you know, the financials for

 20    the company.    If you have an understanding, based on

 21    communications or observations, separate and apart from

 22    that?

 23               THE WITNESS:   I don't -- I'm not sure I have

 24    a clear understanding.    As I understand it, the money

 25    came from LV.   It was supposed to be reimbursed,



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  1    because we told him, look, you want to do Hawaii, go

  2    ahead, but we want our money back.     We're done with

  3    you.    That was strike two. And he said that he got half

  4    a million back, that he negotiated with a seller, that

  5    they get to keep half of that million, and half a

  6    million came back.   But we tried to understand, on

  7    financials, where is that money?     Was it ever from LV?

  8    Did it ever come back to LV?     And we never got a

  9    satisfactory really explanation.

 10               Hawaii was the strike two.    The final getting

 11    out was strike three, which was late December.

 12               MR. CORTEZ:    So, we'll get to the strike

 13    three, in a moment, but let's just take a five-minute

 14    break, let the court reporter get some water and use

 15    the restroom, if that's okay. Does that make sense?

 16               THE WITNESS:   Yep.

 17               MR. CORTEZ:    We're off the record, at 2:38

 18    P.M.

 19               (A brief recess was taken.)

 20               MR. CORTEZ:    Back on the record, at 2:49 P.M.

 21               BY MR. CORTEZ:

 22           Q   Other than speaking about Pelotin, did you

 23    have any substantive discussions with anyone, from the

 24    Commission staff, during the break?

 25           A   No.



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  1          Q    So, we were talking about the three projects

  2    that you've had invested in, 551 Bayshore, 1505 Ponce,

  3    and the Redlands Phase One.       We're sort of focusing on

  4    1505 Ponce and 551Bayshore.       Do you recall if you

  5    received the same type of documents, from Kapoor, or

  6    Location Ventures, when they were presenting the

  7    investments, both in 551 Bayshore and then in 1505

  8    Ponce?

  9          A    So, 551 Bayshore documents we talked about

 10    before.   1505, similar, you know, model, that showed

 11    expenses, exit prices; so very similar documents for

 12    1505, as it did for Bayshore.

 13          Q    So, there's a model or projection, looking

 14    forward, for the project, including the exit?

 15          A    Values of the apartment, yes.

 16          Q    Thank you.

 17          A    Yes.

 18          Q    And you were provided an operating agreement,

 19    when you decided to invest, in 1505 Ponce?

 20          A    1505 Ponce operating agreement was based on

 21    551 operating agreement, because it was the same group

 22    of investors.     It was us and

 23          Q    Okay.   And prior to        becoming an

 24    investor, in 551 Bayshore, did you ever consider

 25    investing prior to that, in 1505 Ponce?



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  1          A    Good question.   Possibly, but I don't

  2    remember, for sure.    I know the money we allocated, to

  3    551 investment, once        came in, then we kind of

  4    shifted that money over to 1505.     But were we

  5    independently committed to that investment before

  6    I don't remember, for sure, but I believe so, yes.

  7          Q    And prior to        do you recall receiving

  8    those projections or models, for 1505 Ponce?

  9          A    Yes.

 10          Q    Okay.

 11                          (SEC Exhibit No. 6 was marked for

 12                          identification.)

 13               BY MR. CORTEZ:

 14          Q    I'm handing you what has been marked as

 15    Exhibit Six, titled "operating agreement of 1505 Ponce

 16    Partners, LLC", bates stamped LV 00009948, through

 17    10009.    I just have a couple questions to sort of

 18    understand the structure of this operating agreement.

 19    So, when you have a chance, let me know when you're

 20    ready.

 21          A    Yeah.   Yes, I'm ready.

 22               MR. WEINSTEIN:   Hold on, one second.

 23               So, it's LV, with all those zeros.      Okay.

 24               BY MR. CORTEZ:

 25          Q    So, you mentioned, just before, this



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  1    operating agreement, for 1505 Ponce Partners, the

  2    operating agreement is structured almost identical or

  3    very similar to that of 551 Bayshore?

  4          A     That was my understanding, yes, that this

  5    agreement was based on 551, with possibly some minor

  6    differences negotiated by         but that was my

  7    understanding.

  8          Q     I'm just going to refer you to a couple of

  9    pages. So, it's -- if you can turn to the page, bates

 10    stamped 9995?

 11          A     9995?

 12          Q     At the very end of the document.

 13          A     Okay.

 14          Q     So, you see it says "manager and member, 1505

 15    Ponce Sponsor, LLC"?

 16          A     Uh-huh.

 17          Q     Was that -- is that the sponsor entity that

 18    Location Ventures created, to be the sponsor of this

 19    project?

 20          A     I assume so, yes.

 21          Q     And, then, you see where it says, "investor

 22    members"?    It says 1505 Ponce, LLC.

 23          A     Yes.

 24          Q     Is that the entity you created to make the

 25    investment into the 1505 Ponce project?



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  1          A     I can quickly check, if you allow me a

  2    minute.

  3          Q     Well, why don't we turn to the next page.

  4    Maybe that will help.      So, this is Exhibit A.

  5          A     Yes, yes.    Sorry.

  6          Q     This is Exhibit A, bates stamp number 9996.

  7    It's Exhibit A.      It lists the names, addresses, and the

  8    initial capital contributions, of the members.        If you

  9    see, it says, "name of member 1505 Ponce, LLC", and

 10    then the next column provides the address of member,

 11    and it provides a Miami Beach address.        Then, it says,

 12    "attention, Alex Kleyner". So, does that refresh your

 13    recollection, as to whether this entity is the entity

 14    you created to invest in the 1505 Ponce project?

 15          A     Yes.    Going back to the previous question,

 16    then, yes, we did commit to invest into this project,

 17    before

 18          Q     And how do you know that?

 19          A     Because they're not listed on this exhibit

 20    page. And we are -- our final contribution is not 16

 21    million. It's -- I believe it's 9.1 is where we ended

 22    up.   And          -- sorry.   And LV's 21505 sponsor is 2

 23    million.

 24          Q     Okay.    So, this number, here, the 16 million,

 25    for the 1505 Ponce, the 4 million for the Ponce



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  1    sponsor, the LV entity, those numbers changed to -- for

  2    your entity, approximately, 9 million, and for the

  3    sponsor, approximately, 2 million, correct?

  4          A      Correct, and 9 million for

  5          Q      And those numbers changed once       became an

  6    investor?

  7          A      Yes.

  8          Q      Okay.

  9          A      Again, I'm referring to      as a group.

 10    They invest under specific entities.      The entity is not

 11              LLC, but just for the context of this

 12    conversation.

 13          Q      And I know we have not looked at an operating

 14    agreement, for 551 Bayshore, but your initial

 15    commitment also changed, I think you testified, from 18

 16    million, to, approximately, 9 million, when         came

 17    into -- became a member, as an investor, into that

 18    project?

 19          A      Correct.

 20          Q      Okay.   If you can turn -- this is at the

 21    beginning of the agreement, to the page 15, where it

 22    says, bates stamp 9962.     Do you see, at the top, it

 23    says "distributions and allocations"?

 24          A      Yes.

 25          Q      And, then, you see Article 5.1,



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  1    Distributions?

  2          A    Yes.

  3          Q    So, I know we spoke about this, but I just

  4    wanted to see if you could sort of generally walk us

  5    through this Article 5.1 and how, you know, a member,

  6    such as yourself, or the entity you created, 1505

  7    Ponce, was entitled to distributions, under this

  8    section?

  9          A    So, this is what I mentioned as the

 10    thresholds, the monies towards the principle, then 12

 11    percent interest, or IRR.    And, then, it's split 50/50,

 12    between the LPs and the sponsor.

 13          Q    Okay.   When it says IRR, what's your

 14    understanding of what that means?

 15          A    Internal rate of return, of annualized --

 16    depending how long your money has been out, annualized

 17    return on your money of, you know, in this case, 12

 18    percent.

 19          Q    Was that IRR of 12 percent, do you recall if

 20    that was the same IRR, for 551 Bayshore?

 21          A    I don't recall exactly, but I would assume it

 22    was either 12 or somewhere in the same range.

 23          Q    Okay.   And has there been any distributions

 24    made, to members or investors, in 1505 Ponce, to date?

 25          A    No.



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  1          Q    Understanding that we'll get to the buyout,

  2    is there any expectations that distributions will be

  3    made in the near term?

  4          A    No.

  5          Q    How about the long term; any expectations

  6    that distributions will be made to these members, in

  7    the long term?

  8          A    Are you trying to make me feel bad or are you

  9    asking me a real question?

 10          Q    I'm actually not trying to make you feel bad.

 11          A    You're asking me a real question?

 12          Q    I'm asking a real question.

 13          A    It's getting smaller, by the day, that

 14    expectation.

 15          Q    Okay.   Now, we're going to -- and I think

 16    we've talked a little bit this morning, but real

 17    quickly, the next paragraph, Article 5.2, allocation of

 18    profits and losses; do you see that?

 19          A    Yes.

 20          Q    Again, feel free to take time to read this,

 21    but what's your general understanding as to how profits

 22    and losses would be allocated, amongst the sponsors --

 23    sorry, excuse me, amongst the investors or members and

 24    the sponsor?

 25          A    So, again, my general understanding is



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  1    sponsor's entitled to certain fees, along the way, as

  2    the project is developing, which is the development

  3    fees, line acquisition fee, or anything else that might

  4    be spelled out in here.    Once the project comes to a

  5    completion, because this is a ground up, and the units

  6    are sold, and the closings are taking place, and the

  7    proceeds are coming into the, you know, the -- JV's

  8    bank account, the bank is paid off, then the capital is

  9    returned to LPs and GP.    Then, LPs are making the 12

 10    percent return, on top.    And, then, any money after

 11    that -- any money left over is split 50/50, between

 12    LPs, as investors, and GP, as a sponsor.

 13          Q    You mentioned the fees, you know, I think

 14    before we talked about extension fees, that had to be

 15    paid to extend the closing date, on certain properties,

 16    I think we mentioned with respect to 551 Bayshore.      Are

 17    those fees born by the investors of the project, when

 18    those extension fees are paid, or how do those fees

 19    get -- what monies are the fees being paid out of?

 20          A    They're supposed to be paid from the JV

 21    monies available.   So, it's -- let's say there's no

 22    out -- there's no bank financing in place yet, then

 23    every hundred dollars that's inside the company, let's

 24    say using this agreement, here, $80 came from the LPs

 25    and $20 came from the sponsor and the GP.     So, the



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  1    extension fees should be paid from the JV's bank

  2    account.   The money in the bank account should come pro

  3    rata from the two classes of investors, let's call it.

  4          Q    And just use the extension fees as an

  5    example, did that -- if there were -- or were extension

  6    fees that had to be -- that were going to be paid, was

  7    that something that needed approval from the investors?

  8          A    So, I don't know exactly which page -- I

  9    don't know if this talks about extension fees.     My

 10    expectation would be, without reading the document,

 11    that it would be yes, to your question.     The reality is

 12    it was never approved by anybody.    It was unilaterally

 13    decided, by Rishi.   Negotiated by Rishi, signed by

 14    Rishi, and paid by Rishi.

 15          Q    And we mentioned extension fees.    Your --

 16    and, again, maybe it is or maybe it's not in this

 17    document, your expectation as an investor, other types

 18    of fees that were being paid, would those need to be

 19    approved by investors?    You know, we talked about, for

 20    example, development fees, acquisition fees, I think

 21    you mentioned marketing fees and the like?

 22          A    If they were disclosed, in the operating

 23    agreement, then no, they did not have to be approved,

 24    but if there were any fees outside the agreement, then

 25    they would definitely need to be -- not even disclosed,



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  1    they would need to get approved.

  2          Q    Okay.

  3          A    But if the operating agreement allows for a

  4    development fee, which I'm sure this does, and

  5    acquisition fee, then there was no permission

  6    necessary. The manager of the project had the, I guess,

  7    permission to move that money.

  8          Q    Okay.   And this is both with respect to 551

  9    Bayshore and 1505 Ponce.     At the time of your initial

 10    investments into those projects, was there a projected

 11    timeline, for each project, to finish?

 12          A    Yes.

 13          Q    And what were those respective timelines for

 14    551 Bayshore and 1505 Ponce, if you recall?

 15          A    I don't recall exactly, but we're definitely

 16    way behind schedule on all the projects, but I don't

 17    recall exactly when -- you know, the acquisition -- I

 18    don't recall, specifically, when they were supposed to

 19    be completed.

 20               BY MR. HOUCHIN:

 21          Q    Do you recall, approximately?

 22          A    Four years, maybe, from the time of the

 23    investment, you know, a year to get some permits, kind

 24    of get shovel ready, a couple years to build, sell,

 25    close.    So, maybe four years, somewhere in that range.



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  1    We are behind schedule, on all projects.      1505 never

  2    broke ground yet and 551 we didn't close on the land

  3    yet.

  4               BY MR. CORTEZ:

  5           Q   And you mentioned that there's been extension

  6    fees that have been paid for 551.     Are there any

  7    extension fees that have been paid for 1505 Ponce?

  8           A   I believe so, yes.

  9           Q   But do you know if the land has been

 10    acquired, for 1505 Ponce?

 11           A   Yes.

 12           Q   But the closing has not been set, as of

 13    today, or it keeps getting pushed back, I should say?

 14           A   No, so the 1505 --

 15               MR. SHOHAT:    That's five.

 16               THE WITNESS:    Let me clarify.   The 1505

 17    Ponce, the land was closed on, in November-ish, of last

 18    year, so that's done.     Done, meaning now the land is an

 19    asset of JV.   The 551 Bayshore is a multiple

 20    extensions, amendments, extension fees, and so on.

 21    There's no term sheet.     There's no land financing lined

 22    up.

 23               Where we are today is         is considering

 24    closing on the land -- considering closing on the land,

 25    with their own capital.



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  1               BY MR. CORTEZ:

  2          Q    For 551 Bayshore?

  3          A    For 551 Bayshore.

  4          Q    And if you could, briefly, what is the

  5    status, now, with 1505 Ponce, as we sit there today?

  6    Is there planned construction?    Is there a plan to

  7    break ground on the property or --

  8          A    There are -- so the land is closed, with a

  9    senior and junior lender, for 30 million, in total.

 10    Construction, they did not break ground.     I think

 11    they're still going through the approval process.

 12    Permitting -- well, it's either permitting or still

 13    design, some kind of a design process, but it's not

 14    close to shovel ready.

 15          Q    And is there any expectation that 1505 will

 16    be, at some point, shovel ready?    Is there a time frame

 17    for that or projected time frame for that?

 18          A    Are you trying to make me feel bad or are you

 19    asking me a real question? I think the latest is still

 20    like a year away or something like that.

 21          Q    And this is not to make you feel bad, so --

 22    but before we get into your sort of decision to redeem

 23    your investments, do you have any concerns, as you sit

 24    here today, that any of the information that was

 25    communicated to you, or otherwise provided to you,



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  1    about investing with Location Ventures, or the

  2    projects, was false or misleading?

  3          A    I can answer freely, right, this question?

  4    Yes. Now, was it intentionally false and misleading or

  5    incompetence false and misleading?     If I had to guess,

  6    it's a combination of both, but yes.     Not a single

  7    model that was shown to us, not a single timeline that

  8    was shown to us, has come to fruition.     And not a

  9    single set of accounting documents that are in place, I

 10    have a high degree of confidence in.

 11          Q    And just to be clear --

 12          A    Yes, you did make me feel bad, in case you're

 13    wondering.

 14          Q    That wasn't my intention.

 15          A    It's okay.   I get it.

 16          Q    And just to be clear, that's with respect to

 17    551 Bayshore, correct?

 18          A    Yes.

 19          Q    1505 Ponce, correct?

 20          A    Yes.

 21          Q    And your investment in Location Ventures,

 22    itself?

 23          A    Biggest.

 24          Q    Okay.

 25               BY MR. HOUCHIN:



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  1          Q    What is your understanding as to who would be

  2    responsible, at Location Ventures, for the project we

  3    just discussed, in terms of providing information that

  4    you believe, as you sit here today, was inaccurate, in

  5    some form or fashion?

  6          A    Rishi Kapoor.

  7          Q    And that's based on things that he told to

  8    you verbally?

  9          A    Verbally, in writing, procedurally, whenever

 10    requested anything, nothing would come back before he

 11    reviewed it.    The fact that every time we asked

 12    something, we got a different answer, and it's

 13    always -- it's Rishi.    It's always Rishi Kapoor.

 14          Q    Thank you.

 15               BY MR. CORTEZ:

 16          Q    I'd like to turn now to your decision, maybe

 17    your wife's decision, to redeem your investments, in

 18    the projects and Location Ventures.    I know this -- I

 19    think you walked us through some of it, but just,

 20    again, so the record is clear, if you can sort of

 21    please walk us through your decision to redeem -- I'm

 22    using redeem in the sense of requesting a buyout of

 23    your interests, in Location Ventures, as well as the

 24    projects, sort of the time frame and sort of the -- how

 25    do you -- each step along that way?



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  1           A   Sure.   So, going back to what I said in the

  2    past, we signed up to be kind of passive real estate

  3    investors, with an option to learn more, but as much as

  4    we want to learn, or as little as we want to learn.     We

  5    didn't sign up to run the business.     We didn't sign up

  6    to fix a business.   We signed up to invest in a

  7    business, with an existing management team. It started

  8    taking more and more of our time because there were

  9    more and more things that we needed to get involved on,

 10    so that the wheels don't kind of come off.     Like,

 11    again, the Hawaii project, he wanted to be right away.

 12    Hawaii, we said look -- that was an example, right? So,

 13    we progressively started noticing that our time --

 14    there's a lot of our time being dedicated to Location

 15    Ventures, which was never our initial desire, right?

 16    Initial intent.    That was number one. Then, we saw

 17    that, you know, there are practices in a company that

 18    we were constantly kind of questioning and trying to

 19    understand, and we started getting a sense that we're

 20    constantly getting some kind of half answer or half

 21    story, or kind of a dance from Rishi, and that really

 22    started just kind of -- again, not what we signed up

 23    for.    We kind of invested into him.   We thought he had

 24    the potential to be a real developer, build a real

 25    company, with our money, with some of our advice and



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  1    mentorship, that he always talked about.      But strike

  2    three, as I mentioned before, as we were trying to

  3    understand all these transactions and how the money is

  4    moving hands -- well, it was kind of one-sided moving

  5    certain hands.     And as he tried to start explaining us

  6    how he's entitled to these fees, we send him, I think

  7    it was, a text message, that I'm like, hey, just so

  8    we're clear, we do not agree with your rationale for

  9    why this money is -- you're entitled to this money.        Do

 10    not take anymore money out of the company, until we

 11    kind of try to understand what's going on here, if this

 12    is fixable and so on.

 13          Q    And may I -- my apology there.     That text

 14    message, was that just from you, or were there to Rishi

 15    Kapoor?   Were there other people on that text message?

 16          A    It would either be between me and Rishi, or

 17    me,         and Rishi.      So, we had a group text for the

 18    three of us.   I think it was in that group text, with

 19    the three of us, but there was definitely no lawyers or

 20    anybody else on that group text.      So...

 21          Q    And, David, that's why you mentioned the last

 22    production has some of that?

 23               MR. WEINSTEIN:     The last two.

 24               BY MR. CORTEZ:

 25          Q    Okay.   Sorry.    Continue on.



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  1          A     I remember I was at dinner with           and

  2    having sushi, and it was like our date night, we got

  3    away from the kids.    And we just wanted to do what

  4    people do on date nights and talk about stuff.

  5                MR. SHOHAT:    What kind of sushi was it?

  6                THE WITNESS:    It was great.    It was actually

  7    one of our favorites.      Nosamakasi, if you guys ever

  8    tried it, on Miami Beach.      It's fantastic. Pricey, but

  9    fantastic.

 10                But, anyway, so this was in the middle of him

 11    closing on 1505.    And he kept talking to us how he's

 12    all stressed and he's trying to put all these pieces

 13    together.    And Marty is willing to do Junior, and the

 14    senior needs to agree to that. So, he was, you know,

 15    basically kind of gave us, please don't bother me, I'm

 16    trying to understand all these transactions, while I'm

 17    trying to close this.

 18                And I texted him that -- I'm like, one, I --

 19    I either texted him or e-mailed him.        I believe it was

 20    a text.   Just so we're clear, we don't agree with your

 21    justification for this money coming out.        We need to

 22    understand it further, but do not take anymore money

 23    out of the company, until we sort this out.        And two

 24    days later, we got a text message from Greg Brooks, and

 25    he's like, you won't believe it, he just took 100 grand



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  1    out of Urbin, for himself.    And that was strike three.

  2               BY MR. CORTEZ:

  3          Q    And this was --

  4          A    November, mid to late November, maybe early

  5    December, probably not, of 2022.

  6          Q    Okay.   So, that was, as you described it,

  7    strike three.     Once Greg Brooks informed you that Rishi

  8    took $100,000 out of Urbin --

  9               MR. SHOHAT:    Not Urbin; Location.

 10               THE WITNESS:   Well, it was --

 11               MR. SHOHAT:    Oh, I thought you said Location.

 12               THE WITNESS:   So, that one, if I'm not

 13    mistaken, he took from Urbin project level, so there

 14    would be more difficult for us to find. So, it didn't

 15    come out of LV.    It didn't come out of Urbin --

 16               BY MR. CORTEZ:

 17          Q    LLC?

 18          A    -- LLC.   It came from some project level, so,

 19    you know, unless we looked granular, we wouldn't be

 20    able to spot it, which really pissed us off, that that

 21    was clearly by design.

 22               BY MR. HOUCHIN:

 23          Q    Did Mr. Brooks have any understanding as to

 24    the justification for that hundred thousand dollars

 25    coming out?



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  1          A     I think he was still trying to understand it,

  2    himself.    Because, again, he was only on the job, for

  3    maybe three or four months, at that time.     And he

  4    didn't come in to a clean set of books, and you've just

  5    to understand -- like he was rebuilding a lot of the

  6    books, trying to understand what is this payment for,

  7    where is the invoice or operating agreement, to justify

  8    this payment. So, no, he didn't have a -- you know,

  9    from what I understand, Greg Brooks did not have a

 10    justification or explanation why, again, Rishi,

 11    personally, would be taking money out of any of these

 12    entities.

 13          Q     Did he provide -- did Greg Brooks provide you

 14    any documentation showing the transfer of money from

 15    the Urbin project level, to Rishi Kapoor?

 16          A     I am not sure.   I don't believe so, but we

 17    asked, again, our lawyer, to say can you please work

 18    with accountant, to understand what is going on there,

 19    and at least let us know if that transfer took place.

 20          Q     Okay.   Did you have any communication with

 21    Mr. Kapoor, after learning about the hundred thousand

 22    dollars?

 23          A     I asked him to meet for breakfast, on Monday,

 24    and asked him to bring DJ to breakfast.

 25          Q     And what did you guys discuss, at breakfast?



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  1          A    I, basically -- so it was the four of us,

  2    Rishi, DJ, myself, and           Small talk, in the

  3    beginning, and then I basically -- the way I phrased

  4    it, I said, DJ, you were not part of the recent

  5    conversations we had with Rishi, about some of the

  6    things we're trying to understand inside the company.

  7    I'm sure he's brought you up to speed, but I prefer you

  8    hear from me what is going on between us.     So, I listed

  9    a couple of things that we're not understanding.      I

 10    show him the 2022 budget and I said, show me where, in

 11    the budget, it shows payments to you or Rishi.      They

 12    didn't really have an answer.    So, I listed the issues

 13    that we were trying to understand, the transactions

 14    we're trying to understand.    I didn't get any of the

 15    answers.   I put a piece of paper, in front of him.       I

 16    said this is the buy-out schedule.    It's not

 17    negotiable.    If you don't want to do it, that's

 18    perfectly fine.   You know, the rest will be handled by

 19    the lawyers.   And that was, more or less, the last time

 20    that I spoke to him, up until I spoke to him last week,

 21    once.

 22          Q    This was an in-person breakfast you mentioned

 23    on the following Monday?

 24          A    Yes.

 25          Q    Where was it held at?



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  1          A     In Midtown, in one of the restaurants in

  2    Midtown.

  3          Q     Okay.    So, after you laid out what you just

  4    described to Rishi and to DJ Mogha, what response did

  5    they have, at that breakfast?

  6          A     DJ stayed quiet.     He didn't have anything to

  7    say. I told him he is the biggest fool, at this table.

  8    I'm like you guys are both equally possibly in trouble,

  9    here.     But Rishi took millions and you took hundreds of

 10    thousands.    So, you're -- I apologize.     You're a

 11    fucking idiot.      Right?   He didn't have anything to

 12    respond to that. I wasn't -- you know, they didn't

 13    really have -- there was no response.       There was no

 14    but, this is why, this is why.       So, we said, okay, this

 15    is the buy-out schedule if you, you know --

 16          Q     Did Rishi -- do you recall if Rishi agreed to

 17    that buy-out schedule, at the time you presented it to

 18    him, at that breakfast?

 19          A     No.   He e-mailed me, a few hours later, said

 20    we accept.    Redlands -- we separated the Redlands from

 21    everything else.      So, Redlands was a separate buy-out

 22    schedule that took place within, literally, I don't

 23    know, a week maybe.      And everything else the lawyers

 24    handled from there to work out the global purchase.

 25          Q     So, the Red -- sorry, to interrupt. So, the



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  1    Redlands, that was a separate schedule that were

  2    within, I think you said, a week that they paid you

  3    back your, I think you said, approximately $3 million

  4    investment?

  5          A    Something like that, yes.

  6          Q    Okay.   So, that was sort of off the table

  7    then the rest -- the other schedules focused on your

  8    investments in Location Ventures, 551 Bayshore, and

  9    1505 Ponce?

 10          A    Yes, and we gave him six months to kind of

 11    complete that buy-out, which we thought was a

 12    reasonable time frame.

 13                         (SEC Exhibit No. 7 was marked for

 14                         identification.)

 15               BY MR. CORTEZ:

 16          Q    I'm handing you what has been previously

 17    marked as Exhibit Seven.     It's bates -- it's titled

 18    "global interest purchase agreement", bates stamped

 19    FL-4347_Kleyner_LVLLC_0001480, through 1521. Just take

 20    a moment to review and let us know when you're ready.

 21          A    I'm ready.

 22          Q    Mr. Kleyner, do you recognize this document?

 23          A    Yes.

 24          Q    And what is it?

 25          A    It's our buy-out agreement that we reached



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  1    with Rishi and Location Ventures.

  2           Q   If you can turn to page 22, of the agreement,

  3    bates stamp 1501.   You notice under -- this is the

  4    signature page, of the agreement.    Under 1505 Ponce,

  5    LLC,                          , and then above the name,

  6    Alex Kleyner, is that your signature, on those three

  7    lines?

  8           A   Yes.

  9           Q   And, then, is that your wife's signature,

 10                 for the             and for her, personally?

 11           A   Yes.

 12           Q   Okay.   And I think we noted this before, but

 13    looking at the signature page, 1505 Ponce, LLC was the

 14    LLC created to invest in the 1505 Ponce de Leon

 15    project, correct?

 16           A   Yes.

 17           Q   The                             was that the LLC

 18    created to invest in the 551 Bayshore, Fort Lauderdale

 19    project?

 20           A   Yes.

 21           Q   The              that is signed by your wife,

 22                 that was the trust that invested directly

 23    into Location Ventures entity, correct?

 24           A   Yes.

 25           Q   And, then, you and your wife,          signed



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  1    personally, as individuals that owned or otherwise

  2    controlled the three entities -- the two entities and

  3    the trust, that we just discussed, correct?

  4          A    Yes.

  5          Q    Okay.   This agreement, on the first page, of

  6    the first paragraph, is dated as of December 31, 2022,

  7    defined as the "effective date".    It's made between you

  8    and          and the entities we just discussed, and

  9    Rishi Kapoor and Location Ventures.    If you could, turn

 10    to page two of the agreement? And if you notice,

 11    Article -- paragraph one, it says "purchase price".

 12    And, then, Subsections A, B, and C list three separate

 13    interests, LV interests, Bayshore interests, and Ponce

 14    interests. The LV interest, is that referring to the

 15    membership interest that was invested in Location

 16    Ventures, itself?

 17          A    Yes, this was the borrowed amount.    There was

 18    no return.   This was how much we put in.    This was how

 19    much we wanted to get out.

 20          Q    So, the $24,378,630 is the total amount

 21    invested in Location Ventures, correct?

 22          A    I mean, it sounds right.   I don't see where

 23    you -- where you see that actual number, but yes, I'm

 24    sure if you add them up --

 25          Q    I'm just looking, Alex, right here.



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  1          A     Oh, sorry.   Yes.

  2          Q     And, then, similarly, the Bayshore interests,

  3    referring again, as you mentioned, the 551 Bayshore

  4    project, the roughly 6.36 million, just to be clear,

  5    you had mentioned that when         came in, there was

  6    roughly 9 million invested.     So, I just wanted to

  7    understand the discrepancy between the 6.3 and the 9.

  8          A     Yes, sure.   So, we put in 5.1 of cash, into

  9    Bayshore.    We had a commitment for 9, but when we found

 10    out how the budget moved, we said we're not giving you

 11    anymore money.      So, we only put in 5.1 million, in

 12    cash. I then calculated the 12 percent IRR, that -- in

 13    the operating agreement for projects I was entitled to,

 14    assuming I got out, at a certain date.       And that's how

 15    we came up with these numbers, for both 1505 and

 16    Bayshore.    So, this was principle, plus 12 percent IRR.

 17    No other profit participation.

 18          Q     Okay.   So, for 1.1 Bayshore interest, as well

 19    as 1.2 C, the Ponce interest, at 10.18 million number,

 20    both were calculated the same way?

 21          A     That includes -- yes.   Sorry.    That includes,

 22    I think it's 9 or 9.1 million of principle, plus

 23    accrued interest of 12 percent, since that money was

 24    deployed.

 25          Q     Okay.   The next paragraph, Paragraph 1.3,



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  1    payment, there's -- under this paragraph, there's --

  2    continuing onto the next page, there's three schedules,

  3    one for the LV purchase price, a second for the

  4    Bayshore purchase price, and a third for the Ponce

  5    purchase price. You had mentioned that you provided a

  6    payment schedule that was non-negotiable to Rishi, at

  7    that breakfast.    Does this reflect that payment

  8    schedule that you provided to him that day?

  9          A    Yes.

 10          Q    And was it for -- was it to three separate

 11    payment schedules, one for LV, one for Bayshore, and

 12    one for Ponce, that you provided, or -- as reflected in

 13    this agreement?

 14          A    I mean, yes and no.   It was one schedule,

 15    with dates and amount, and what that payment is

 16    against.

 17          Q    Okay.

 18          A    So, it was one schedule, just -- again, it

 19    was a combination of the three entities, under one

 20    payment schedule.

 21          Q    Which, I guess, for purposes of this

 22    agreement, was just broken up, per investment interest,

 23    in each?

 24          A    Correct.   That's why you'll see a gap, in

 25    let's say the LV equity, there's a gap in the dates,



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  1    that some LV entities get bought out in January,

  2    February, and March.    Then, in March, the Bayshore

  3    needs to get bought out.    And, then, in April, the

  4    Ponce needs to get bought out.    And, then, in May and

  5    June, the rest of the LV gets bought out.

  6           Q   Oh, I see.   Thank you, for that

  7    clarification. So, were these payments, as reflected on

  8    these schedules, were these payments actually made to

  9    you?

 10           A   Are you trying to make me feel bad or are you

 11    asking me a real question?

 12           Q   I guess I do a good job of making people feel

 13    bad.    It's something I need to work on.

 14           A   As long as the right people deserve it, then

 15    I'm okay with it. So, we got partially paid.      We got

 16    everything through March 15th.    We got a $500,000

 17    extension fee. He had a one contracturally, someone

 18    here, he had a 500,000 option, to delay one payment,

 19    for 30 days.   He then notified us that he doesn't have

 20    the next payment to make.    We said we'll take 1.5

 21    million, if you need a little more time.      So, he sent

 22    us 1.5 million, and no additional payments have been

 23    made, and he's now in default even deeper.

 24           Q   And just to be clear, you mentioned the

 25    $500,000 extension.     If you look on page three,



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  1    Subsection E, it talks about extension option.     And I

  2    think it talks about a one-time, nonrefundable

  3    extension fee, of $500,000.    I think that's what you

  4    were referring to, right?

  5          A    Yes.

  6          Q    So, and just, again, going pack to page two.

  7    So, the only payments that were made, I guess, were the

  8    payments under the LV purchase price, from January 13,

  9    2023, through March 15, 2023, and those amounts, as

 10    listed in that schedule, those are the only amounts

 11    that have been paid, except for the 500,000 and the 1.5

 12    million you mentioned?

 13          A    Yes.

 14          Q    Okay.   The 1.5 million, does that -- well,

 15    the 1.5 million, does that go to reduce any future

 16    payments owed, under this agreement?

 17          A    Yes, that goes against the 5 million, of May

 18    15th.

 19          Q    You mean March 15th or May 15th?

 20          A    May 15th.

 21          Q    Oh, I'm sorry.

 22          A    The March 15th, I received.    The 1.5 was

 23    against the May 15th.    So, the current balance is 8.5

 24    million against the LV equity.    And, then, a hundred

 25    percent of 1505 Ponce and Bayshore has not been paid.



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  1           Q    And, approximately, when was that 1.5 million

  2    paid to you?

  3           A    I'd say maybe mid-April, maybe; something

  4    like that.

  5           Q    So, April of 2023?

  6           A    Yeah.

  7           Q    And, then, after that payment, when did

  8    Rishi, you know, represent to you that he doesn't have

  9    the monies necessary to make the remaining payments,

 10    under this agreement?

 11           A    So, I don't know -- his lawyer communicated,

 12    to our lawyer, so I don't know if that's something --

 13                MR. WEINSTEIN:   You want to weigh in on this

 14    one?

 15                MR. SHOHAT:   I'm sorry.   I was working on an

 16    e-mail.    I apologize.

 17                MR. CORTEZ:   I asked him without disclosing

 18    any privileged communications, I asked when did Rishi

 19    represent to Alex that he did not have the monies

 20    necessary to make the remaining payments, on the

 21    schedule.

 22                MR. SHOHAT:   Can we go off the record, for a

 23    second?

 24                MR. CORTEZ:   We can go off the record, at

 25    3:31 P.M.



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  1               (A brief recess was taken.)

  2               BY MR. CORTEZ:

  3          Q    Back on the record, at 3:32 P.M. Real quick,

  4    Mr. Kleyner, did you have any substantive conversations

  5    with the staff, of the Commission, during the break?

  6          A    No.

  7          Q    Sorry.   I have to do that every time. So,

  8    right before we went off the record, I asked you

  9    approximately when did Mr. Kapoor represent to you that

 10    he did not have the monies to make the remaining

 11    payments, as set forth on these schedules of this

 12    global interest purchase agreement?

 13          A    Around May 1st, I believe; around that date.

 14          Q    Okay.    And how was that communicated to you?

 15          A    From his attorney, to our attorney.

 16          Q    Can you just identify who his attorney is and

 17    who your attorney is that received that communication?

 18          A    Yeah, Brian Goodkind is his lawyer, and our

 19    lawyer is Steven Rubin, who was interacting with Brian,

 20    for the purposes of the contract.    And, then, we have

 21    other lawyers who were involved, as well, from Allen

 22    Kluger and Philipe Leiberman.

 23          Q    Okay.    I think you said around May 1, 2023

 24    that Kapoor represented to you that he did not have the

 25    money necessary to make the remaining payments, and,



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  1    again, I don't want to ask any questions that are

  2    privileged communications, between you and your

  3    attorney, but to the extent you can answer this

  4    question, have there been any efforts to renegotiate

  5    the schedules, for the remaining payments, with Mr.

  6    Kapoor?

  7                MR. SHOHAT:    That would be attorney/client

  8    information, right there.     I can't have him answer that

  9    question.

 10                MR. CORTEZ:    Okay.

 11                MR. HOUCHIN:   How about this:   Has Mr.

 12    Kapoor, or his attorney, reached out to you or your

 13    attorneys, about renegotiating?

 14                MR. SHOHAT:    You can answer that question,

 15    have they reached out.

 16                THE WITNESS:   I would answer, the

 17    conversations are ongoing.

 18                BY MR. HOUCHIN:

 19          Q     Have they made any specific proposals?

 20                MR. SHOHAT:    That would be information he

 21    would get through his attorney and not him, personally,

 22    right?    Any information you have in that regard would

 23    be from your attorneys, right?

 24                THE WITNESS:   Yes.

 25                MR. HOUCHIN:   I don't want to go to anywhere



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  1    near communications you're having with your attorneys.

  2    You know, if they sent a letter, from the attorney, on

  3    the other side, to you, someone on the other side

  4    reached out to you, that's one thing.      I would be

  5    interested in.    If you're just learning about the

  6    communications --

  7               MR. SHOHAT:    Do you have a copy of -- let me

  8    just follow up.   Do you have a copy of any letter that

  9    you got, that was sent to you from their attorney, with

 10    a proposal?

 11               MR. WEINSTEIN:   After May 1st?

 12               MR. SHOHAT:    After May 1st.

 13               THE WITNESS:   No.

 14               MR. SHOHAT:    That came from their attorney?

 15               THE WITNESS:   To me, personally?

 16               MR. SHOHAT:    No, to your attorneys.

 17               THE WITNESS:   Do I have a copy?

 18               MR. SHOHAT:    Yeah, do you have a copy?

 19               THE WITNESS:   Let me think if there was any

 20    letters, like physical letters.

 21               MR. SHOHAT:    I think that's what you were

 22    asking him.

 23               MR. HOUCHIN: Yeah.

 24               THE WITNESS:   Right.   Was there any physical

 25    letters that were sent --



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  1               MR. SHOHAT:    After May 1st, with a proposal

  2    or --

  3               THE WITNESS:    I don't believe so.    I think it

  4    was just in the conversational nature.

  5               MR. HOUCHIN:    Okay.    Thank you.

  6               BY MR. CORTEZ:

  7          Q    Which is, I think you said, via e-mail,

  8    correct?

  9          A    Yes.

 10          Q    I think you had mentioned this morning, but

 11    is it true that you and            are not -- are no longer

 12    on Location Ventures board of directors?

 13          A    Yes.

 14          Q    And when did you and           sort of stop being

 15    on the LV board?

 16          A    So, officially we stopped being on the LV

 17    board maybe in the last 60 days, sometime, but we

 18    haven't had a board meeting in -- I can't remember the

 19    last one we had; nine months, maybe.       And those are

 20    more informational, than actually actionable.

 21          Q    And, again, I'm going to be careful, here,

 22    with the line of questioning, but and I'll just start

 23    by asking a very general question.       Since that

 24    representation, approximately May 1st, that Mr. Kapoor

 25    did not have the money necessary to make the remaining



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  1    payments, has the conversations, since then, been

  2    between your lawyers and his attorneys?

  3          A    Have there been conversations?

  4          Q    Have the conversations, concerning the

  5    remaining payments, been made between your attorneys

  6    and his attorneys?

  7          A    Yes.

  8          Q    Okay.   You mentioned that you saw or spoke

  9    with Mr. Kapoor last Friday, correct?

 10          A    Yes.

 11          Q    Were any of your attorneys present when you

 12    spoke or saw Mr. Kapoor last Friday?

 13          A    No.

 14          Q    So, was it just you and Mr. Kapoor having a

 15    communication?

 16          A    It was Rishi, myself,          Marty Halperin,

 17    and four people from

 18          Q    Okay.   Was it a meeting?

 19          A    Yes.

 20          Q    What was the purpose of that meeting?

 21          A    It was really to discuss if he's got some

 22    kind of plan to -- for LV.    There's no real money in

 23    the company.     We wanted to understand if any money is

 24    eminent to meet payroll and such, and if he's got a

 25    plan to solve everybody's situation and take care of



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  1    shareholders.    There was really no plan.   So, then, we

  2    discussed what are the options available, at this

  3    point, basically.

  4          Q    So, when you said there was no plan, do you

  5    recall what Mr. Kapoor specifically represented or said

  6    to you, about any plan or anything going forward, to

  7    meet, I think you said, to meet payroll, satisfy

  8    shareholders, etcetera?

  9          A    He did not have anything to say.    So, we kind

 10    of -- he did not have anything to say to us.

 11          Q    Any documentation or anything that he

 12    provided to you, concerning Location Ventures'

 13    financial condition?

 14          A    No.

 15          Q    Its operations?

 16          A    No.

 17          Q    Any documentation, at all, provided by Mr.

 18    Kapoor, to you, or the other members -- the other

 19    attendees of that meeting?

 20          A    Documentation?    No.

 21               BY MR. HOUCHIN:

 22          Q    Who organized or called the meeting?

 23          A    Marty Halperin, I believe.

 24          Q    Did you have any conversations with Mr.

 25    Halperin prior to the meeting, about organizing or the



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  1    purpose of the meeting?

  2                MR. SHOHAT:    You can answer.

  3                THE WITNESS:    Yes.

  4                BY MR. HOUCHIN:

  5          Q     And what was discussed?

  6          A     What are the options available to LV, at this

  7    point, to protect shareholders and creditors, and such.

  8          Q     And at the meeting, did you provide or --

  9    strike that. At the meeting, did you or Mr. Halperin

 10    provide the options that you and Mr. Halperin had

 11    discussed, to Mr. Kapoor?

 12          A     Concept, yes.

 13          Q     And what specifically do you recall about the

 14    concepts?

 15          A     That what's in a company's best interest to

 16    start liquidating the assets, that still have value, to

 17    pay off any obligations.      And we need to minimize

 18    expenses, which got head count, and basically start

 19    selling off assets to ensure that, you know,

 20    shareholders can see some kind of path to getting their

 21    money back.

 22          Q     And who communicated those options to Mr.

 23    Kapoor?

 24          A     Cas -- sorry.    Barack Meta, who is part of

 25    the       group.   He was very careful to say that he's



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  1    not a shareholder in the company, so he's communicating

  2    and just, you know, kind of on behalf of logic and

  3    reason, when considering the options available, but he

  4    doesn't have a personal interest in LV parent company,

  5    but they are open to buying out the LV stakes, in the

  6    1505 and Bayshore, which would bring some, possibly,

  7    money to the company.

  8          Q    How did he know what to discuss, in terms of

  9    the options or the concepts?    Was there a separate

 10    meeting between himself, Mr. Halperin, and you, or a

 11    combination of that?

 12          A    Yes.

 13          Q    Was that done in person or by phone?

 14          A    In person.

 15          Q    Same day or prior to the meeting?

 16          A    Day before.

 17          Q    Okay.   Anyone else present, at that meeting?

 18          A    Marty Halperin's attorney and our attorney.

 19          Q    Okay.   Going back to the meeting with Mr.

 20    Kapoor, when the concepts were presented to him, how

 21    did he respond, if at all?

 22          A    He said, I understand.   It's a lot for me to

 23    process.   Allow me a little time to process.

 24          Q    Did you guys -- did you or Mr. Halperin give

 25    him any idea of how much time, if any, you were willing



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  1    to give him?

  2          A    Yes.

  3          Q    And how much time was that?

  4          A    We asked him to have a -- something back to

  5    us by, I want to say, Sunday night, or Monday.

  6          Q    This past Sunday or this coming Sunday?

  7          A    No, past.   And start kind of cutting head

  8    count to minimize expenses, like ASAP.

  9          Q    And did you get any feedback from him, either

 10    Sunday or Monday?

 11          A    Are you trying to make me feel bad or are you

 12    asking me a real question? Any feedback from them has

 13    been between his lawyers and our lawyers.     We have no

 14    more direct communication with Rishi, since then.

 15          Q    Not counting information that your attorneys

 16    may have provided to you, about those communications,

 17    do you have any understanding, separate and apart from

 18    that, about any possible proposals or the feedback?

 19          A    Nothing that didn't come from our lawyers

 20    interacting.

 21          Q    Yeah, I don't want to get into that.

 22          A    Yeah.

 23          Q    Okay.   Thank you.

 24               BY MR. CORTEZ:

 25          Q    Is it your understanding that Location



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  1    Ventures currently is insolvent, or at least

  2    approaching insolvency?

  3          A     It's pretty close, yes.

  4          Q     And you mentioned that discussions with Marty

  5    Halperin, I apologize, the person from         --

  6          A     Barack.

  7          Q     Prior -- during -- since the last -- I'll

  8    just say the last few months, or since you -- I'll ask

  9    you since you entered into this purchase agreement,

 10    have you or           had any discussions with other

 11    investors, outside of anything with your attorneys,

 12    about redeeming your investments or other investors

 13    concerned about obtaining about them or their entities

 14    redeeming investments, in Location Ventures, or the

 15    projects?

 16          A     I had a -- yes, with Scott Robbins and Thomas

 17    Harrington.    I spoke to them last night.

 18          Q     Last night?

 19          A     Last night.   And I spoke to Scott,

 20    separately, a few weeks ago, after they sent a

 21    letter -- after their lawyer sent a letter, to every

 22    Location Ventures shareholder.

 23          Q     And, again, without getting involved in any

 24    lawyer communications, is it your understanding that

 25    they are seeking to redeem their investments, as well?



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  1          A    So -- yes.

  2          Q    Okay.   And are you aware of -- since you

  3    entered this purchase agreement, has Rishi Kapoor or

  4    others, at Location Ventures, have they been able to

  5    obtain new investor money, either for Location Ventures

  6    or in the projects, themselves?

  7          A    I believe he got some financing, from Marty,

  8    against certain projects.    And I believe he got some

  9    financing from LVVL, there on the capital stack, which

 10    is Winmar, which is the construction company that's

 11    doing some of the projects.    I don't know the amounts.

 12    I don't know, you know, specifics, but...

 13          Q    Okay.   So, other than -- it seems Winmar

 14    and --

 15          A    Marty Halperin.

 16          Q    -- Marty Halperin, that there's -- to your

 17    understanding, there's no new -- other new investors

 18    that have come in, either at Location Ventures or for

 19    one of the projects?

 20          A    Not that I know of.

 21          Q    Okay.

 22               BY MR. HOUCHIN:

 23          Q    Are you aware of whether Mr. Kapoor has

 24    solicited potential new investors?

 25          A    Not directly, but what I'm hearing is that he



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  1    is scrambling all over town, to try to find money for

  2    the business.    But I don't know if that means talking

  3    to friends and family or that means doing investor

  4    presentations.     I don't know.

  5          Q    What's the basis for that understanding;

  6    where are you getting that information from?

  7          A    Scott mentioned it to me.     Greg Brooks, I

  8    think, mentioned that he's still talking to people.       He

  9    was -- his guys were telling him, I'm not available for

 10    this meeting.    I am meeting somebody, to talk about

 11    this project or that project.      So, that's kind of bits

 12    and pieces that I got, but I don't have direct

 13    knowledge of him meeting with person X or person Y.

 14          Q    And am I correct that you don't have

 15    visibility, in terms of any of the detailed information

 16    that he might be presenting, in any of those meetings?

 17          A    No.

 18          Q    Okay.   Thank you.

 19                          (SEC Exhibit No. 8 was marked for

 20                          identification.)

 21               BY MR. CORTEZ:

 22          Q    I'm handing you what has been marked as

 23    Exhibit Eight.     And this is a complaint that was filed

 24    on May 10, 2023, by Greg Brooks, against Location

 25    Ventures, LLC, in the 11th Judicial Circuit Court, for



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  1    Miami-Dade County, Florida.    And if you would take a

  2    moment to review this?

  3          A     Okay.

  4          Q     Are you aware that Greg Brooks filed a

  5    complaint, or a lawsuit, I should say, against Location

  6    Ventures?

  7          A     Yes.

  8          Q     Have you read this complaint before?

  9          A     Before this meeting?

 10          Q     Before today.

 11          A     Yes.

 12          Q     Okay.   So, is it fair to say you're generally

 13    familiar with the allegations made in this complaint?

 14          A     Yes.

 15          Q     Okay.   If you turn to page six, paragraph 31,

 16    you'll see that there are -- paragraph 31, Mr. Brooks

 17    alleges various financial improprieties that Location

 18    Ventures and its personnel engaged in, including, but

 19    maybe not limited to, Rishi Kapoor.    It goes from

 20    paragraph 31A, through 31M.    So, pages six through

 21    eight.    And I know you mentioned you're familiar with

 22    some of these allegations.    I know you have read this

 23    complaint. Some of these allegations, that Mr. Brooks

 24    makes here, in these subparagraphs, were you familiar

 25    with any of these, you know, allegations, prior to Mr.



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  1    Brooks filing this complaint?

  2          A     Some of them were generally brought up as

  3    concerns, by Mr. Brooks, to us, before, in sometime

  4    October, I would say, of last year.

  5          Q     What -- were some of these allegations, were

  6    you unaware of, prior to Mr. Brooks filing this

  7    complaint?

  8          A     I think all of these allegations we were

  9    unaware of.    Oh, prior to filing this complaint?

 10                MR. SHOHAT:    Were you unaware of them?   Not

 11    aware.

 12                THE WITNESS:   Again, he mentioned that he's

 13    looking into certain things inside the company, and

 14    some of these things were the things he was looking

 15    into.     Before he mentioned to us, we were not aware

 16    that this was possibly going on, but prior to the

 17    complaint, we heard about some of these things, from

 18    Greg Brooks.

 19                BY MR. CORTEZ:

 20          Q     What was your -- when you did sort of read, I

 21    guess, the different allegations, some of which you may

 22    have been aware of, prior to the complaint being filed,

 23    some you were not, what was your reaction?

 24          A     What was my reaction?   I was upset.

 25          Q     Did you speak with anyone, at Location



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  1    Ventures, including Rishi Kapoor, after Brooks filed

  2    this complaint, about what's alleged herein?

  3          A    No.

  4          Q    And did you speak to Greg Brooks about this

  5    complaint, after you filed it, or no?

  6          A    Yes.

  7          Q    Was that directly with Mr. Brooks?

  8          A    Yes.

  9          Q    Okay.   Just to be clear, there wasn't an

 10    attorney conversation, it was you speaking with Mr.

 11    Brooks?

 12          A    Yes.

 13          Q    Okay.   Can you just tell us about that

 14    conversation?

 15          A    I told him it's his legal right to do what

 16    he, you know, chooses to, obviously, but I thought this

 17    would drive the company into bankruptcy.

 18          Q    Why did you think that?

 19          A    I mean, I don't know how bankable Rishi

 20    Kapoor is, after something like this happens.     So,

 21    again, I was very clear.    I'm like, Greg, you have to

 22    do what's best for you, and it's totally your right.

 23    You've got to go with what your lawyers tell you.       So,

 24    you know, I'm not mad that you did this.     It's not my

 25    place to be mad. You did what you, you know, thought



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  1    was right, and that's perfectly fine.

  2          Q     Since the complaint was filed, are you aware

  3    of anything, you know, sort of negatively, that has

  4    occurred, I guess from a financial standpoint, at the

  5    company, since this complaint was filed?

  6          A     Negatively occurred since the complaint was

  7    filed?    No.

  8          Q     Did you or your wife try to take any steps to

  9    verify any of these allegations, in Mr. Brooks'

 10    complaint, after it was filed or --

 11          A     We filed --

 12                MR. SHOHAT:    Other than what may be

 13    conversations with attorneys.

 14                THE WITNESS:   Right.   So, we filed -- ever

 15    since we kind of put the GEEP in place, everything we

 16    did was per advice of our lawyers.

 17                BY MR. CORTEZ:

 18          Q     Okay.

 19          A     All the steps we took were per the advice of

 20    our lawyers.

 21          Q     Any conversations, not including your

 22    lawyers, with other investors, about this complaint and

 23    allegations made, by Mr. Brooks?

 24          A     Not really.    I mean, Scott mentioned the 4

 25    million that Rishi told him he took from the company,



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  1    but that was before the complaint was filed.     So, no,

  2    not really.

  3          Q     And you had mentioned earlier that Rishi

  4    admitted to taking, to you, the 4 million, others

  5    including Scott, but that he had a justification that

  6    he earned or was otherwise entitled to those fees and

  7    monies?

  8          A     So, to us, he never gave that number, of 4

  9    million.    We never got a clear answer how much he took

 10    and when.   We never got a response to that, you know,

 11    piece of paper that we gave you before.     The 4 million

 12    number came from the e-mail that Scott and Thomas'

 13    lawyer sent to every shareholder, in the company, that

 14    said the 4 million number.    And, then, Scott, in a

 15    conversation with me, told me that Rishi told him he

 16    took the 4 million.    Scott said, I'm not sure how you

 17    feel like you're entitled to it.    If you had the 4

 18    million, as profit, I want my five percent.     He said, I

 19    don't think you're entitled to it.    I earned this

 20    money. Scott said, in that case, I also want to be out

 21    of the company.

 22          Q     As I'm sure you're aware, since this

 23    complaint was filed, it's gotten some attention from

 24    the local media, including the Miami Herald.

 25    Particularly, if you go to page eight, and allegation



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  1    Subsection L, of the payment of 10,000 per month, to

  2    Francis Suarez, the Mayor of the City of Miami, for

  3    unknown services. Prior to this complaint being filed,

  4    were you aware that there were payments of 10,000 per

  5    month going to Mr. Suarez?

  6          A    Yes, but as I understood it, those payments

  7    were Urbin, not on Location Ventures side.

  8          Q    And do you have an understanding of what the

  9    purpose of those payments were, on the Urbin side?

 10          A    As far as what I understood from Rishi, it's

 11    primarily to assist with some introductions for

 12    potential investors.

 13          Q    Okay.

 14               BY MR. HOUCHIN:

 15          Q    Did the complaint come up, at all, in your

 16    meeting last week, with Mr. Kapoor?

 17               MR. SHOHAT:    You mean the civil complaint,

 18    right?

 19               MR. HOUCHIN: Right.

 20               THE WITNESS:   Did the civil complaint come

 21    up?   No, not really, no.

 22               BY MR. HOUCHIN:

 23          Q    The meeting was more aimed at trying to find

 24    a path forward; is that fair?

 25          A    The meeting was, where do we go now.    We are



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  1    where we are, where do we go now.    No where good, but

  2    what is the best of the worse path forward.

  3                         (SEC Exhibit No. 9 was marked for

  4                         identification.)

  5               BY MR. CORTEZ:

  6          Q    I'm handing you what has been marked as

  7    Exhibit Nine, which is actually a complaint filed

  8    against Urbin, LLC, and Rishi Kapoor, by CWL-CHLLC,

  9    Asjaia, LLC, A-S-J-A-I-A, is the spelling, and Vieden

 10    Grove OZ, LLC.    This complaint was filed on December

 11    19, 2022, in in the Circuit Court of the 11th Judicial

 12    Circuit, Miami-Dade County, Florida. This complaint has

 13    a lot of exhibits attached to it, which make it

 14    somewhat of a lengthy document.    But if you can just

 15    take a moment to review the first few pages and let me

 16    know when your ready?

 17          A    I'm ready.

 18          Q    Do you recognize this document?

 19          A    Yes.

 20          Q    What is it?

 21          A    It's a lawsuit by, I guess, one of the

 22    investors in one of the Urbin projects, against Urbin

 23    and Rishi.

 24          Q    Have you seen this complaint before?

 25          A    Yes.



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  1          Q     Okay.   Are you familiar with the three

  2    investors that are listed as plaintiffs, in this

  3    complaint?

  4          A     No.

  5          Q     You never had any interactions or anything

  6    with these investors?

  7          A     No.

  8          Q     And you mentioned the lawsuit, as it states

  9    here, in the caption, is against Urbin, LLC and Rishi

 10    Kapoor. To your understanding, what is the Urbin, LLC

 11    entity?

 12          A     Urbin, LLC entity, to my understanding, is

 13    the entity that's responsible for all of the Urbin

 14    projects, that entity has Location Ventures as an

 15    investor.    But Urbin, LLC is responsible for basically

 16    anything Urbin related, financing, investors, and the

 17    presentation has a different set of investors, than

 18    Location Ventures does.    I don't know what the -- I

 19    don't believe it has a board.    I don't believe it has

 20    employees, even.    So, that's my understanding.

 21          Q     Do you know what Location Ventures ownership

 22    interest is, currently, in Urbin, LLC?

 23          A     Again, I've been getting inconsistent

 24    responses, from Rishi.    Every time we ask, it's been

 25    fluctuating between 40 and 60 percent.     I don't know,



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  1    for sure.    I'm guessing it's between 50 and 60 percent,

  2    based on taking averages of the answers I've been

  3    receiving, over the years.

  4          Q     Okay.   And you said that it's your

  5    understanding that Urbin, LLC does not have any

  6    employees, correct?

  7          A     Correct.

  8          Q     Do you know if the employees, or some of the

  9    employees, of Location Ventures, also sort of work on

 10    or oversee the operations of Urbin, LLC?

 11          A     Yes.

 12          Q     And is it your understanding that Rishi

 13    Kapoor also controls the operations of Urbin, LLC,

 14    similar to how he controls the operations of Location

 15    Ventures?

 16          A     Yes.

 17          Q     Okay.   Is there a particular reason why,

 18    other than Location Ventures, that the other investors,

 19    in Location Ventures, are not investors in Urbin, LLC;

 20    is there a particular reason why that is?

 21          A     I can't speak for all of those investors.   I

 22    think some might be.    I believe Thomas Harrington has

 23    some investment in Urbin.    Maybe -- I don't know.

 24    Again, I'm not -- is there a reason why they wouldn't

 25    be the same?    It's two totally different business



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  1    models, different concepts.    And as I mentioned, for

  2    us, when we initially looked at the Urbin business, we

  3    didn't get excited about it.    We don't want to invest.

  4          Q    Again, going back to Greg Brooks' complaint,

  5    Mayor Suarez, his -- it's your understanding his

  6    involvement was only with Urbin, LLC, and the Urbin

  7    projects it was overseeing, not anything of the other

  8    projects we were discussing today, with respect to

  9    Location Ventures; is that correct?

 10          A    My understanding is that he was getting paid

 11    by Urbin, LLC, to help with the Miami Beach projects,

 12    and making the introduction to investors.     Now, were

 13    those investors exclusively for Urbin or Location

 14    Ventures? I'm not sure.

 15          Q    Okay.   If you can turn to page 5, and

 16    paragraph 19, and with the understanding that you've

 17    never invested, and you're not an investor, in Urbin,

 18    LLC, paragraph 19, which starts on page five, and sort

 19    of continues to the top of page six, in this paragraph,

 20    it basically alleges that Kapoor and Urbin, LLC

 21    incurred approximately 16 million, in unauthorized

 22    debt, and caused Urbin Coconut Grove Partners, which is

 23    the, I think, JV, that owns the Urbin Coconut Grove

 24    property, to pay 282,000, 225,000 unauthorized

 25    extension fees. After this complaint had been filed,



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  1    did you have any discussions about the allegations, in

  2    this complaint, and specifically paragraph 19?

  3          A    No, this was filed after we already put the

  4    GEEP in place, so no.

  5          Q    Okay.   So, you never had any discussions with

  6    Mr. Kapoor, other than at Location Ventures?

  7          A    I haven't spoke to Rishi Kapoor since

  8    December of last year, until Friday.

  9          Q    And this never came up on Friday?

 10          A    No.

 11          Q    Okay.   You mentioned you read the complaint

 12    and the allegations.    What was your reaction when you

 13    first read them, in this complaint?

 14          A    I'm not a lawyer, so I can't understand

 15    the -- I can't judge the -- sorry -- the merits of the

 16    claims, here.    I'm not familiar with this project.     I'm

 17    not familiar with Urbin operating agreement.     So, I

 18    couldn't really comment.    I don't have an opinion

 19    whether these are just frustrated investors, who wanted

 20    their money back and used the lawsuit to try to

 21    leverage that out, or this is legitimately everything

 22    they're claiming is accurate.    I'm not close enough to

 23    this project or any of the Urbin projects, to be able

 24    make an educated opinion of them.

 25          Q    And I understand that with -- you had



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  1    mentioned, I think, with 1505 -- well, no, excuse me.

  2    I think I might be getting this confused with 551

  3    Bayshore.    There have been extension fees being paid,

  4    that were not authorized by investors, in that project,

  5    correct?

  6          A     Yes.

  7          Q     And do you -- it seems, here, that -- would

  8    you agree that there's a similar allegation, in this

  9    complaint?

 10          A     Yes.

 11          Q     And we talked earlier, they also make an

 12    allegation about 16 million unauthorized debt.     I think

 13    we had, perhaps this morning, spoken about if you're

 14    aware, with respect to Location Ventures, or 551

 15    Bayshore, or 1505 Ponce, has there been any -- are you

 16    aware of any debt that projects or Location Ventures

 17    incurred, without approval?

 18          A     So, I mentioned the loan that was given to

 19    Urbin, without approval.    I mentioned that, in the

 20    past.     But as far as 1505, we had a closing on the

 21    land, that was -- I believe it was in line with kind of

 22    what we expected.    And, Bayshore, we still never

 23    closed, but there's extension fees that are being paid

 24    monthly --

 25          Q     Okay.



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  1          A    -- that were not discussed with us.

  2          Q    Can we just take a five-minute break?    I just

  3    want to talk to John, for one second.     Then, I think we

  4    can wrap it up.

  5               (A brief recess was taken.)

  6               BY MR. CORTEZ:

  7          Q    So, we're back on the record, at 4:18 P.M.

  8    Mr. Kleyner, did you have any substantive discussions,

  9    with anyone from the Commission staff, during the

 10    break?

 11          A    No.

 12          Q    Couple quick questions, before we finish.     I

 13    wanted to go back to something.    When we were talking

 14    about Location Ventures' budget, we were focusing, if

 15    you recall, on the year of 2022, and there was sort of

 16    the budget and then the actuals, from the financial

 17    statements.   What was the difference, in terms -- I

 18    think you talked about payroll.    Do you remember the

 19    percentage or money differences, between what the '22

 20    budget showed, compared to what the actuals were?

 21               MR. SHOHAT:    Are you talking about just as to

 22    payroll?

 23               MR. CORTEZ:    Yeah, we can talk about some

 24    other things, but we'll start with just payroll.

 25               THE WITNESS:   So, I believe the current



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  1    payroll in the company is roughly $600,000, a month.       I

  2    don't remember exactly what the budget called for, for

  3    2022, but it was definitely not 600,000, a month.     So,

  4    if I had to guess, I don't remember, maybe 400,000 a

  5    month, but I'm purely speculating.    Not speculating,

  6    but I'm guessing.

  7                BY MR. CORTEZ:

  8          Q     Would it help, at all, to look at the

  9    budget --

 10          A     Yeah.

 11          Q     -- for 2021?

 12          A     For 2021.

 13          Q     Would that at all help, at all?

 14          A     2021, I think, had about a 4 million payroll.

 15    So, even if 2022 had some incremental, it certainly

 16    wasn't 7.2 million. The 2021, I think, showed like 4

 17    million and change, in the budget, for just payroll.       I

 18    don't recall, but I don't think 2022 was double, but

 19    we're coming in close to double, for this year.

 20          Q     Again, this is the 2021 budget, fixed costs,

 21    which, again, all employees of a company, correct, show

 22    for 2021 budget, a little bit over 4 million.     I know

 23    this is for 2021, and not 2022, but do you recall if

 24    the budget shown to you was a little bit higher than

 25    that or --



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  1          A     I don't remember exactly, but, again,

  2    guessing here that if it was higher, it would be within

  3    a small ten to 20 percent higher, not 80 percent

  4    higher, which is where we are now.

  5          Q     So, you recall that from a percentage basis,

  6    whatever number, it was 80 percent higher, the actuals,

  7    for 2022, than what the budget shows?

  8          A     I recall when I showed the piece of paper to

  9    Rishi and DJ, at the last breakfast we had together,

 10    when I showed them the 2022 budget printed out, and I

 11    said show me where it shows payments to you guys.      I

 12    don't remember exact numbers.    Again, I'm sure it's in

 13    e-mails that we shared with you guys.     But it certainly

 14    didn't have a payroll for 7 or $7.2 million, which is

 15    what we're currently trending.    They are currently

 16    trending.

 17          Q     I know you mentioned, I think you remember,

 18    on the 2022 budget, the salaries were $400,000 listed

 19    for Rishi, and I think the same for DJ Mogha, right,

 20    400,000, for 2022?

 21          A     No, in the budget, it was still, I think,

 22    350, and then he brought up -- like he gave Vivian a

 23    $150,000 bonus.   That was never in the budget.     He gave

 24    raises to George, I think is here at --

 25          Q     Jorge or George?



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  1          A    -- one something.   He's now north of 200.

  2    That was never kind of discussed.    So, there was a lot

  3    of raises he gave out.    There were bonuses that he gave

  4    out, that were never approved, never in line with the

  5    budget that we saw, we were shown, and nor were we ever

  6    shown any kinds of adjustments or adjust in budget.

  7          Q    Okay.    And, then, if you recall, there's the

  8    sort of second category, titled "variable costs".     For

  9    the 2022 budget, were the variable costs significantly

 10    higher from what was presented, in the 2022 budget, to

 11    what the actuals were, when you saw them?

 12          A    I don't -- I don't -- I don't recall.

 13          Q    But, really, the focus was really on the

 14    payments to employees and monies --

 15          A    Sorry.

 16          Q    Go ahead.

 17          A    No, please.

 18          Q    No, I was just saying it seems like the

 19    budget was -- sorry.     The actual expenses were much

 20    higher than the 2022 budget showed.    Really, though, in

 21    terms of the fixed cost to the various employees, of

 22    the company, including Rishi and DJ Mogha?

 23          A    That's the one that I recall highlighting to

 24    DJ and Rishi, and saying show me where, in this budget,

 25    that shows the bonuses to you, or Vivian, for that



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  1    matter, and there was no real answer.     I didn't focus

  2    on the variable costs because, again, I don't really

  3    have financials to compare it against, where on the,

  4    you know, the fixed costs, that's pretty

  5    straightforward. Show me where it says $1.3 million

  6    payment to you.      Show me where it shows 140,000 to DJ.

  7    Show me where it shows 150,000 to Vivian, and so on.

  8          Q     Right.   So, those numbers were never on the

  9    budget, but for 2022, again, going back to Exhibit

 10    Five, the 1.3 million that was paid, to Rishi Kapoor,

 11    was paid in 2022, and then the 140,000 was paid in

 12    2022, to DJ Mogha, these amounts were never shown, on

 13    the 2022 budget, however?

 14          A     Absolutely not.   And, again, going back to

 15    the statement he made, how am I supposed to live on

 16    less than two, two and a half million a year, which was

 17    mind boggling to me.     I'm not sure if there were other

 18    payments made, throughout the year.     These are the ones

 19    that we were able to, you know, ask him about.

 20          Q     On Exhibit Five, we talked about the payments

 21    to Rishi and DJ Mogha.     You had also mentioned there

 22    was a $150,000 bonus payment made to Vivian Bonet, in

 23    2022.     I just want to confirm this because it was not

 24    reflected on Exhibit Five, but I just want to confirm

 25    that that is your testimony?



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  1          A    Yes, I think that bonus was paid later in the

  2    year.

  3          Q    Okay.   And, then -- sorry.   Do you have any

  4    other questions?

  5               MR. HOUCHIN: On that?    That's fine.

  6               BY MR. CORTEZ:

  7          Q    And, then, you had mentioned that you found

  8    the loan made, from Location Ventures, to Urbin, LLC,

  9    correct? Again, did you find that out by reviewing one

 10    of the company's quarterly financial statements; is

 11    that when you noticed the loan payment that was made

 12    from Location Ventures, to Urbin?

 13          A    No, we found out in a -- it was mentioned in

 14    passing, in a conversation, on an unrelated topic,

 15    that -- when the loan is repaid and the money can go --

 16    we're like, which loan?     He's like, the loan from

 17    Urbin.    I'm like how much is that loan.   And I think,

 18    at that time, it was ten or $12 million.     And I was

 19    like, what are you talking about?     He's like, well,

 20    Urbin needed money for whatever it was, X, Y, Z.       And I

 21    remember we were just furious and we called a meeting,

 22    with Rishi.   We met him in the Design District and we

 23    said, like, you now have other people's money.     You do

 24    not own a hundred percent of the company.     You can't

 25    run it like you own a hundred percent of the company.



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  1    You can't move money around, like it's, you know, you

  2    just can't move money around, as you see fit.     So, this

  3    lean needs to get paid back, immediately.     He's like,

  4    yes, the closing's coming up and then the loan is going

  5    to get repaid.     And, fast forward, well over a year,

  6    since that conversation, to this Friday, and I said is

  7    there still a loan from Urbin, to LV?     He said, yes.    I

  8    said, how much is it? He said, it's 6 million. And,

  9    then, on the last financials, which were, I think,

 10    December of this year, I believe -- December -- I'm

 11    sorry --

 12          Q    2022?

 13          A    -- December of last year, the loan is showing

 14    at 16 million.     And, then, if you look at -- once we

 15    actually started looking at the financials, we saw

 16    those numbers kept jumping, which after we specifically

 17    told him, you are no longer -- you can no longer lend

 18    money and move money, back and forth, at will.     He

 19    said, I understand.    We saw, in the financials, that

 20    the fact that the loan was going up and down, that

 21    there was money constantly moving back and forth. And

 22    when he told me, Friday, the loan was 6, it could be 6,

 23    it could be 12, it could be -- he doesn't know,

 24    himself, because there's no proper record keeping. The

 25    last guy who genuinely tried to keep accurate records



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  1    was let go.   That was Greg Brooks.

  2          Q    All right.   Are you aware of any other monies

  3    being loaned or otherwise provided, say, from one --

  4    either from Location Ventures, to a project, or from

  5    one project to another project; are you aware of any

  6    other, you know, situations similar to what you have

  7    informed us today, about the loan from Location

  8    Ventures, to Urbin?

  9          A    The only other one that is kind of top of

 10    mind is he has a piece of land, under contract, in

 11    Miami Beach. Again, it's called Urbin Miami Beach Two.

 12    Obviously, he doesn't want the investment to close on

 13    it in time.   We always kind of refer to Rishi as the

 14    king of extensions. He just uses his extensions, as if

 15    they're free. So, there was an extension due.     He

 16    missed the deadline for extension.    The seller said, I

 17    need half a million today, and 350 by, I guess, maybe

 18    today, the 31st or the 1st of the month.     If you don't

 19    do it, then forget it, then you lose the deposit that

 20    you put -- again, I assume -- I assume Urbin put down

 21    on the project, right?    And Rishi sent a half a

 22    million.   And, then, Friday, I asked him, who paid this

 23    half a million; was is it Urbin or Location Ventures.

 24    And he said Location Ventures.    And I said why is

 25    Location Ventures paying extension fees, for Urbin



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  1    projects.    And he told me, well, this was always

  2    intended to be LV project, which is not true.      It's

  3    literally called Urbin Miami Beach. And I asked him,

  4    I'm like what's the program of the project; is it micro

  5    units?    He knew where I was going, of course.    He's

  6    like, uh, yeah.    I'm like, does it not make it Urbin?

  7    Does it not make it an Urbin project?      And he just

  8    didn't answer. And the second one, there's another

  9    project, called 44 Zamora, that in the last few months,

 10    it was mentioned to us, when we were still kind of part

 11    of a company, but purely mentioned, nobody ever voted,

 12    as far as I know.    I asked him, Friday, I'm like did

 13    you put a deposit down, for 44 Zamora, like on a land

 14    deposit or something.    He's like, yes.    I'm like, is

 15    that refundable, meaning did you already go hard or are

 16    you still in your due diligence period.      He said, no,

 17    it's not refundable. So, there was another project, 44

 18    Zamora, where money went in, and now the project dies,

 19    which it -- most likely, that money stays for the

 20    seller, let's say. Right?

 21          Q     How much money was put?

 22          A     I'm not sure.   Again, I'm not sure, but

 23    usually these things are half a million, to a million

 24    dollars, but I'm not sure.

 25          Q     Is it your understanding that that money also



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  1    came from Location Ventures?

  2          A     That would probably be Location Ventures'

  3    project because it's not a microunits.     It's your

  4    traditional multi-family rentals.     So, I think it came

  5    from Location Ventures.    I don't know, for sure.     But

  6    if it did, it should have came from Location Ventures,

  7    assuming he had anybody's permission to actually do

  8    that.

  9          Q     And you're not aware of any permission given

 10    for that?

 11          A     I didn't give mine.   I wasn't asked.

 12          Q     Okay.

 13          A     So, and I know there's no board meetings.

 14    There's no board votes.    There hasn't been one,

 15    forever. There's no shareholder meeting.     So, I'm not

 16    aware of anybody else, that I talked to, who said,

 17    yeah, yeah, I blessed it.    But, again, in all fairness,

 18    it's not like a speak to a lot of people and this would

 19    have come up. But, no, I'm not aware of that being

 20    presented for any formal process, to proceed with a

 21    non-refundable deposit.

 22          Q     All right.   So, before we -- we don't really

 23    have any further questions, but let me ask you.      Is

 24    there anything that we've not discussed today, that you

 25    think we should be aware of, concerning Kapoor,



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  1    Location Ventures, the projects, or any investments

  2    relating to the Location Ventures, the projects,

  3    Kapoor, DJ Mogha?

  4          A     I have a question, if I can ask.   I can't

  5    make this up. So, I learned, on Friday, that Rishi, in

  6    the last weeks, took delivery of a brand new yacht, a

  7    72-foot Princess, which, to me, is mind boggling that

  8    while all this is going on, while he's delinquent on

  9    the GEEP, in default on the GEEP, while we're talking

 10    about how do we make payroll and how do we take care of

 11    shareholders, he upgraded his boat, from a 55 Princess,

 12    to a 72 Princess. So, I don't know where the money, for

 13    that, came from.    I'm not accusing, you know -- just

 14    the optics of it, I thought were just in bad taste,

 15    considering the situation he's in, and the company he's

 16    in.   So, I was really kind of -- you know, I didn't

 17    confront him, on Friday, about it, because I found out

 18    after he left the room.    I think people didn't want to

 19    tell me because they knew how I would react to

 20    something like that.    I'm like, let me get this

 21    straight.   You didn't make the payments, on my GEEP,

 22    we're talking about, here, how do we move forward, you

 23    just took delivery of a brand new boat.     I mean, that's

 24    just, you know, I found that to be interesting.

 25    Otherwise, I think you asked the questions about, you



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  1    know, the range of topics that I have some kind of

  2    insight into.

  3          Q    Okay.   Have you spoken with anyone, other

  4    than your counsel, regarding this investigation?

  5          A    No.   Well, our accountant, because he was

  6    part of some of the paperwork he had to provide.        Our

  7    CFO, because he was also exchanging e-mails.      But

  8    nobody outside of kind of who was covered by the

  9    subpoena that you guys hand us, no.

 10               MR. HOUCHIN:   And, also, excluding your wife.

 11               THE WITNESS:   And my wife, yes.

 12               BY MR. CORTEZ:

 13          Q    Have you spoken with anyone, other than your

 14    counsel, regarding your appearance here, today?

 15          A    No.

 16          Q    Okay.   And do you know --

 17          A    Again, my wife.

 18          Q    I should have said excluding your wife. And

 19    do you know anyone else who has been subpoenaed or has

 20    testified, in this investigation?

 21          A    No.

 22          Q    Okay.   Mr. Kleyner, we really do appreciate

 23    your time and your counsel's time.      We have no further

 24    questions, at this time.     However, in the future, we

 25    may wish to call you again, to testify in this matter.



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  1    If this is necessary, we'll of course contact your

  2    counsel. Mr. Kleyner, do wish to clarify any statement

  3    you have made today?

  4          A    You made me feel bad, on occasion, but I

  5    didn't take it personal.    I think you're just doing

  6    your job and I appreciate it.    So, no, with as much of

  7    a smile, as you could have, in these type of

  8    situations, so, no. Other than that, no.

  9          Q    There's a whole host of topics we'd rather be

 10    discussing than this, today, but I do appreciate your

 11    indulgence in providing us as much information as you

 12    did, today. Do you wish to add anything to that, to add

 13    anything to your statements that you've made here,

 14    today?

 15          A    No, I don't think so.

 16          Q    As I mentioned, I'm going to offer your

 17    counsel an opportunity to ask any clarifying questions.

 18    So, Mr. Shohat?

 19               MR. SHOHAT:   Just a couple hours worth, so

 20    let's get started.   I'm kidding.     Only kidding. No

 21    questions.

 22               MR. CORTEZ:   All right.    Well, we thank you,

 23    again, for your time, here, today.      Obviously, wish you

 24    save travels, to Italy.    And, now, we're finished with

 25    the testimony, so we're off the record, at 4:36 P.M.,



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  1    Wednesday, May 31, 2023.

  2               (Whereupon, at 4:36 P.M., the examination was

  3    concluded.)

  4                             * * * * *

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  1                    PROOFREADER'S CERTIFICATE

  2

  3    In The Matter of:    LOCATION VENTURES, LLC

  4    Witness:             Alex Kleyner

  5    File Number:         FL-04347-A

  6    Date:                Wednesday, May 31, 2023

  7    Location:            Miami, FL

  8

  9                This is to certify that I, Maria E. Paulsen,

 10    (the undersigned), do hereby certify that the foregoing

 11    transcript is a complete, true and accurate

 12    transcription of all matters contained on the recorded

 13    proceedings of the investigative testimony.

 14

 15    _______________________          _______________________

 16    (Proofreader's Name)             (Date)

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 18

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     ·1· · · · · · · · · · · CERTIFICATE OF OATH

     ·2
     · · ·STATE OF FLORIDA· · )
     ·3· ·COUNTY OF MIAMI-DADE)

     ·4· · · · · · · ·I, the undersigned authority, certify that
     · · ·personally appeared ALEX KLEYNER, before me and was duly
     ·5· ·sworn.
     · · · · · · · · ·WITNESS my hand and official seal this 15th
     ·6· ·day of June, 2023.

     ·7

     ·8
     · · · · · · · · · · · · · · · · · · · · · LAURA LENTOSKI
     ·9

     10
     · · · · · · · ·REPORTER'S DEPOSITION CERTIFICATE WITH
     11· · · · · · · · · · · · ACKNOWLEDGEMENT

     12
     · · · · · · · · ·I, LAURA LENTOSKI, do hereby certify that I
     13· ·was authorized to and did stenographically report the
     · · ·foregoing interview; and that the transcript is a true
     14· ·record of the testimony given by the witness.

     15· · · · · · · ·I further certify that I am not a relative,
     · · ·employee, attorney or counsel for any of the parties,
     16· ·nor am I a relative or employee of any of the parties'
     · · ·attorney or counsel connected with the action, nor am I
     17· ·financially interested in the action.

     18· · · · · · · ·Dated this 15th day of June, 2023.

     19

     20

     21· · · · · · · · · · · LAURA LENTOSKI

     22

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